2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 1 of 88

EXECUTIVE OFFICE OF THE PRESIDENT
OFFICE OF MANAGEMENT AND BUDGET
WASHINGTON, D.C. 20503

THE DIRECTOR

January 29, 2025
M-25-14
MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES
FROM: Matthew J. Vaeth, Acting Director, Office of Management and Budget hher—

SUBJECT: Rescission of M-25-13

OMB Memorandum M-25-13 is rescinded. If you have questions about implementing the
President’s Executive Orders, please contact your agency General Counsel.

EPA_00299532
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 2 of 88

EXECUTIVE OFFICE OF THE PRESIDENT
OFFICE OF MANAGEMENT AND BUDGET
WASHINGTON, D.C. 20503

In implementing President Trump’s Executive Orders, OMB issued guidance requesting that
agencies temporarily pause, to the extent permitted by law, grant, loan or federal financial
assistance programs that are implicated by the President’s Executive Orders.

Any program not implicated by the President’s Executive Orders is not subject to the
pause.

The Executive Orders listed in the guidance are:

Protecting the American People Against Invasion

Reevaluating and Realigning United States Foreign Aid

Putting America First in International Environmental Agreements
Unleashing American Energy
Ending Radical and Wasteful Government DEI Programs and Preferencing

Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
the Federal Government

Enforcing the Hyde Amendment
Any program that provides direct benefits to individuals is not subject to the pause.

The guidance establishes a process for agencies to work with OMB to determine quickly whether
any program is inconsistent with the President’s Executive Orders. A pause could be as short as
day. In fact, OMB has worked with agencies and has already approved many programs to
continue even before the pause has gone into effect.

Any payment required by law to be paid will be paid without interruption or delay.
Q: Is this a freeze on all Federal financial assistance?

A: No, the pause does not apply across-the-board. It is expressly limited to programs, projects,
and activities implicated by the President’s Executive Orders, such as ending DEI, the green new
deal, and funding nongovernmental organizations that undermine the national interest.

Q: Is this a freeze on benefits to Americans like SNAP or student loans?

A: No, any program that provides direct benefits to Americans is explicitly excluded from the
pause and exempted from this review process. In addition to Social Security and Medicare,
already explicitly excluded in the guidance, mandatory programs like Medicaid and SNAP will
continue without pause.

EPA_00299533
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 3 of 88

Funds for small businesses, farmers, Pell grants, Head Start, rental assistance, and other similar
programs will not be paused. If agencies are concerned that these programs may implicate the
President’s Executive Orders, they should consult OMB to begin to unwind these objectionable
policies without a pause in the payments.

Q: Is the pause of federal financial assistance an impoundment?

A: No, it is not an impoundment under the Impoundment Control Act. It is a temporary pause
to give agencies time to ensure that financial assistance conforms to the policies set out in the
President’s Executive Orders, to the extent permitted by law.

Temporary pauses are a necessary part of program implementation that have been ordered by
past presidents to ensure that programs are being executed and funds spent in accordance with a
new President’s policies and do not constitute impoundments.

Q: Why was this pause necessary?

A: To act as faithful stewards of taxpayer money, new administrations must review federal
programs to ensure that they are being executed in accordance with the law and the new
President’s policies.

EPA_00299534
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 4 of 88

EXECUTIVE OFFICE OF THE PRESIDENT
OFFICE OF MANAGEMENT AND BUDGET
WASHINGTON, D.C. 20503

THE DIRECTOR
January 27, 2025

M-25-13
MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES
FROM: Matthew J. Vaeth, Acting Director, Office of Management and Budget A4E—

SUBJECT: | Temporary Pause of Agency Grant, Loan, and Other Financial Assistance
Programs

The American people elected Donald J. Trump to be President of the United States and
gave him a mandate to increase the impact of every federal taxpayer dollar. In Fiscal Year 2024,
of the nearly $10 trillion that the Federal Government spent, more than $3 trillion was Federal
financial assistance, such as grants and loans. Career and political appointees in the Executive
Branch have a duty to align Federal spending and action with the will of the American people as
expressed through Presidential priorities. Financial assistance should be dedicated to advancing
Administration priorities, focusing taxpayer dollars to advance a stronger and safer America,
eliminating the financial burden of inflation for citizens, unleashing American energy and
manufacturing, ending “wokeness” and the weaponization of government, promoting efficiency
in government, and Making America Healthy Again. The use of Federal resources to advance
Marxist equity, transgenderism, and green new deal social engineering policies is a waste of
taxpayer dollars that does not improve the day-to-day lives of those we serve.

This memorandum requires Federal agencies to identify and review all Federal financial
assistance! programs and supporting activities consistent with the President’s policies and
requirements.” For example, during the initial days of his Administration, President Donald J.
Trump issued a series of executive orders to protect the American people and safeguard valuable
taxpayer resources, including Protecting the American People Against Invasion (Jan. 20, 2025),
Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025), Putting America First in
International Environmental Agreements (Jan. 20, 2025), Unleashing American Energy (Jan. 20,
2025), Ending Radical and Wasteful Government DEI Programs and Preferencing (Jan. 20,

! 2 CFR 200.1 defines Federal financial assistance to mean “[a]ssistance that recipients or subrecipients receive or
administer” in various forms, but this term does not include assistance provided directly to individuals. For the
purposes of this memorandum, Federal financial assistance includes: (i) all forms of assistance listed in paragraphs
(1) and (2) of the definition of this term at 2 CFR 200.1; and (11) assistance received or administered by recipients or
subrecipients of any type except for assistance received directly by individuals.

? Nothing in this memo should be construed to impact Medicare or Social Security benefits.

EPA_00299535
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 5 of 88

2025), Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
the Federal Government (Jan. 20, 2025), and Enforcing the Hyde Amendment (Jan. 24, 2025).
These executive orders ensure that Federal funds are used to support hardworking American
families.

To implement these orders, each agency must complete a comprehensive analysis of all
of their Federal financial assistance programs to identify programs, projects, and activities that
may be implicated by any of the President’s executive orders. In the interim, to the extent
permissible under applicable law, Federal agencies must temporarily pause all activities related
to obligation or disbursement of all Federal financial assistance, and other relevant agency
activities that may be implicated by the executive orders, including, but not limited to, financial
assistance for foreign aid, nongovernmental organizations, DEI, woke gender ideology, and the
green new deal.

This temporary pause will provide the Administration time to review agency programs
and determine the best uses of the funding for those programs consistent with the law and the
President’s priorities. The temporary pause will become effective on January 28, 2025, at 5:00
PM. Even before completing their comprehensive analysis, Federal agencies must immediately
identify any legally mandated actions or deadlines for assistance programs arising while the
pause remains in effect. Federal agencies must report this information to OMB along with an
analysis of the requirement. OMB also directs Federal agencies to pause all activities associated
with open NOFOs, such as conducting merit review panels.

No later than February 10, 2025, agencies shall submit to OMB detailed information on
any programs, projects or activities subject to this pause. Each agency must pause: (i) issuance of
new awards; (ii) disbursement of Federal funds under all open awards; and (iii) other relevant
agency actions that may be implicated by the executive orders, to the extent permissible by law,
until OMB has reviewed and provided guidance to your agency with respect to the information
submitted.

OMB may grant exceptions allowing Federal agencies to issue new awards or take other
actions on a case-by-case basis. To the extent required by law, Federal agencies may continue
taking certain administrative actions, such as closeout of Federal awards (2 CFR 200.344), or
recording obligations expressly required by law.

Additionally, agencies must, for each Federal financial assistance program: (1) assign
responsibility and oversight to a senior political appointee to ensure Federal financial assistance
conforms to Administration priorities; (ii) review currently pending Federal financial assistance
announcements to ensure Administration priorities are addressed, and, subject to program
statutory authority, modify unpublished Federal financial assistance announcements, withdraw
any announcements already published, and, to the extent permissible by law, cancel awards
already awarded that are in conflict with Administration priorities, and; (111) ensure adequate
oversight of Federal financial assistance programs and initiate investigations when warranted to
identify underperforming recipients, and address identified issues up to and including
cancellation of awards.

EPA_00299536
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 6 of 88

Message

From: Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]

Sent: 2/6/2025 10:17:19 PM

To: Vaseliou, Molly [Vaseliou.Molly@epa.gov]; Hanson, Paige (Catherine) [hanson.catherine@epa.gov]

Subject: RE: Update for you

The only action today is the placement of 168 staff on administrative leave. No action is being taken at this time to
eliminate or reorganize OEJECR or the EJ offices in the 10 regional offices.

Travis Voyles
C: (202) 787-0595

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Thursday, February 6, 2025 5:14 PM

To: Voyles, Travis <voyles.travis@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: FW: Update for you

I know this is OMS, but here’s the question: Can you also confirm that OEJECR is being “eliminated?” That is the term I
was told was used in the staff meetings.

That’s not accurate at the moment right? Because we would have to submit a reorg to Congress and because we still have
staff doing work.

From: Dawn Reeves <dreeves@iwpnews.com>

Sent: Thursday, February 6, 2025 5:13 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>; Weiner, Ben <Weiner.Ben@epa.gov>; Gall, Daniel
<Gall.Daniel@epa.gov>; Mandy, Cora <Mandy.Cora@epa.gov>

Subject: RE: Update for you

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Thanks — and I won’t quote you on it but if you do get more info please do share!

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Thursday, February 6, 2025 5:10 PM

To: Dawn Reeves <dreeves@iwpnews.com>; Weiner, Ben <Weiner.Ben@epa.gov>; Gall, Daniel <Gall.Daniel@epa.gov>;
Mandy, Cora <Mandy.Cora@epa.gov>

Subject: RE: Update for you

I will need to double check. My understanding is that if that were the case there would need to be a formal reorganization
plan submitted to Congress (but don’t quote me on that).

Molly Vaseliou
Associate Administrator for Public Affairs
Environmental Protection Agency

From: Dawn Reeves <dreeves@iwpnews.com>
Sent: Thursday, February 6, 2025 5:07 PM
To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>; Weiner, Ben <Weiner.Ben@epa.gov>; Gall, Daniel

EPA_00299537
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 7 of 88

<Gall.Daniel@epa.gov>; Mandy, Cora <Mandy.Cora@epa.gov>
Subject: RE: Update for you

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Received, thank you!

Can you also confirm that OEJECR is being “eliminated?” That is the term I was told was used in the staff meetings.

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Thursday, February 6, 2025 4:54 PM

To: Weiner, Ben <Weiner.Ben@epa.gov>; Gall, Daniel <Gall.Daniel@epa.gov>; Mandy, Cora <Mandy.Cora@epa.gov>
Subject: Update for you

“EPA is working to diligently implement President Trump’s executive orders, including the ‘Ending Radical and Wasteful
Government DEI Programs and Preferencing,’ as well as subsequent associated implementation memos. President Trump
was elected with a mandate from the American people to do just this. Career staff made determinations on which Office of
Environmental Justice employees had statutory duties or core mission functions. As such, 168 staffers were placed on
administrative leave as their function did not relate to the agency’s statutory duties or grant work. EPA is in the process of
evaluating new structure and organization to ensure we are meeting our mission of protecting human health and the
environment for all Americans.” — EPA Spokesperson

Molly Vaseliou

Associate Administrator for Public Affairs
Environmental Protection Agency

EPA_00299538
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 8 of 88

XJ-98T65801-2 Page 1

GRANT NUMBER (FAIN): 98T65801
MODIFICATION NUMBER: 2 DATE OF AWARD
2 % U.S. ENVIRONMENTAL PROGRAM CODE: XJ 12/19/2024
= y 1 2
3 ] 3 PROTECTION AGENCY NE OF ACTION Noe
% sie ugmentation: Increase
“ye Assistance Amendment PAYMENT ME TROD: RCTS
£ prov ASAP 90125
RECIPIENT TYPE: Send Payment Request to:
Not for Profit Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT: PAYEE:
SAN DIEGO STATE UNIVERSITY FOUNDATION SAN DIEGO STATE UNIVERSITY FOUNDATION
5250 CAMPANILE DR MC 1947 5250 CAMPANILE DR MC 1947
SAN DIEGO, CA 92182-1947 SAN DIEGO, CA 92182-1947
EIN: XX-XXXXXXX
PROJECT MANAGER EPA PROJECT OFFICER EPA GRANT SPECIALIST
Rebecca Lewison Dani Allen-Williams Katya Obrez
5500 Campanile Drive 75 Hawthorne Street, CED-4-1 Grants Branch, MSD-6
San Diego, CA 92182-4614 San Francisco, CA 94105 75 Hawthorne Street
Email: rlewison@sdsu.edu Email: AllenWilliams.Dani@epa.gov San Francisco, CA 94105
Phone: 619-594-8287 Phone: 415-972-3800 Email: obrez.katya@epa.gov
Phone: 415-972-3744

PROJECT TITLE AND EXPLANATION OF CHANGES
Special Purpose Activities Related to Environmental Justice

See Attachment 1 for project description.

BUDGET PERIOD PROJECT PERIOD TOTAL BUDGET PERIOD COST —_| TOTAL PROJECT PERIOD COST
06/01/2023 - 05/30/2028 06/01/2023 - 05/30/2028 $ 9,999,999.00 $ 9,999,999.00
NOTICE OF AWARD

Based on your Application dated 11/01/2022 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 3,000,000.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $ 8,100,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry
out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with
the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
statutory provisions, all terms and conditions of this agreement and any attachments.

ISSUING OFFICE (GRANTS MANAGEMENT OFFICE) AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS ORGANIZATION / ADDRESS
U.S. EPA, Region 9, U.S. EPA, Region 9 Grants Branch, MSD-6 U.S. EPA, Region 9, Environmental Justice, Community Engagement and
75 Hawthorne Street Environmental Review, CED-1
San Francisco, CA 94105 Re = Regiea 9
75 Hawthorne Street
San Francisco, CA 94105

THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY

Digital signature applled by EPA Award Officlal Carolyn Truong - Grants Management Officer DATE
12/19/2024

EPA_00299541

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 9 of 88
XJ-98T65801-2 Page 2
EPA Funding Information

FUNDS FORMER AWARD THIS ACTION AMENDED TOTAL
EPA Amount This Action $ 5,100,000 $ 3,000,000 $ 8,100,000
EPA In-Kind Amount $0 $0 $0
Unexpended Prior Year Balance $0 $0 $0
Other Federal Funds $0 $0 $0
Recipient Contribution $0 $0 $0
State Contribution $0 $0 $0
Local Contribution $0 $0 $0
Other Contribution $0 $0 $0
Allowable Project Cost $ 5,100,000 $ 3,000,000 $ 8,100,000
Assistance Program (CFDA) Statutory Authority Regulatory Authority

66.309 - Surveys, Studies, Investigations, Training
and Special Purpose Activities Relating to
Environmental Justice

2023 Consolidated Appropriations Act (PL 117-328)
Clean Air Act: Sec. 103(b)(3)

Clean Water Act: Sec. 104(b)(3)
Solid Waste Disposal Act: Sec. 8001(a)
2022 Consolidated Appropriations Act (PL 117-103)
Clean Air Act: Sec. 138

2 CFR 200, 2 CFR 1500 and 40 CFR 33

Fiscal
: Approp. Budget Object | a. . Cost Obligation /
Site Name Req No FY Code Organization PRC Class Site/Project Organization | Deobligation
- 25125WB110 | 2226 | BSF5 WF OOOW57XKS] 4140 12IRATA - $ 3,000,000
$ 3,000,000

EPA_00299542
2:25-Ccv-02152-RMG Date Filed 04/21/25

Budget Summary Page

Entry Number 131-2 Page 10 of 88

XJ-98T65801-2 Page3

Table A - Object Class Category Total Approved Allowable
(Non-Construction) Budget Period Cost
1. Personnel $ 1,086,330
2. Fringe Benefits $ 345,160
3. Travel $ 285,000
4. Equipment $0
5. Supplies $ 44,275
6. Contractual $ 150,000
7. Construction $0
8. Other $ 6,907,147
9. Total Direct Charges $ 8,817,912
10. Indirect Costs: 0.00 % Base See General T/C $ 1,182,087
11. Total (Share: Recipient __ 0.00 % Federal __ 100.00 %) $ 9,999 999
12. Total Approved Assistance Amount $ 9,999,999
13. Program Income $0
14. Total EPA Amount Awarded This Action $ 3,000,000
15. Total EPA Amount Awarded To Date $ 8,100,000

EPA_00299543
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 11 of 88

XJ-98T65801-2 Page 4

Attachment 1 - Project Description

The purpose of this project is to empower communities by providing critical services to community
organizations. These services will expand participants’ capacity to meet community-defined priorities and
participate meaningfully in decision-making processes, focusing specifically on underserved, rural,
remote, tribal, indigenous, and Pacific Island communities across EPA Region 9. The goal/mission is to
leverage and strengthen community assets by creating an accessible in-person and virtual community
that builds capacity and provides technical assistance in energy and environmental justice centered
around four unifying objectives: 1) Outreach and partnership building, 2) Development of resources, 3)
Transfer of knowledge and building community capacity, 4) Evaluation, adaptation, and innovation. The
hub of the Thriving Communities Technical Assistance Centers (TCTAC) will be based in a physical and
virtual center at San Diego State University (SDSU) called the Center for Community Energy and
Environmental Justice. Hub partners will work to coordinate activities in their area(s) of expertise across
all of EPA Region 9 and will facilitate co-production, co-development, sharing , transfer, and delivery of
both process and content among Spoke partners and community partners for environmental programs
(air, water, waste, energy, toxics) and grantsmanship. Spoke partners will lead on delivering services (in
person and virtually) to eligible community organizations, building and expanding on their existing eligible
community organizations in their network and identifying and connecting with new community
organizations, supporting community engagement and capacity building.

Hub Partners include: SDSU Community Climate Action Network, Environmental Protection Network,
USD Energy Policy Initiative Center, ASU Energy and Society, Institute for Tribal Environmental
Professionals, and Center for Creative Land Recycling.

Spoke Partners include: Climate Science Alliance (CA), Public Health Alliance (CA), Arizona State Univ
School of Sustainability (AZ), Desert Research Institute (NV), Pacific RISA (HI, AS), and Univ of Guam
Center for Island Sustainability (Guam).

This amendment provides additional partial federal funding in the amount of $3,000,000. See terms and
conditions.

EPA_00299544
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 12 of 88

XJ-98T65801-2 Page 5
Administrative Conditions

Previous Administrative Terms and Conditions are reiterated and updated.

General Terms and Conditions

The recipient agrees to comply with the current Environmental Protection Agency (EPA) general terms

and conditions available at: https:/Awww.epa.gov/grants/epa-general-terms-and-conditions-effective-
october-1-2024-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.

A. Federal Financial Reporting (FFR)

For awards with cumulative project and budget periods greater than 12 months, the recipient will submit
an annual FFR (SF 425) covering the period from "project/budget period start date" to June 30 of each
calendar year to the EPA Finance Center in Research Triangle Park, NC. The annual FFR will be
submitted electronically to rtpfc-grants@epa.gov no later than September 30 of the same calendar
year. Find additional information at https:/Awww.epa.gov/financial/grants. (Per 2 CFR § 200.344(b), the
recipient must submit the Final FFR to rtpfc-grants@epa.gov within 120 days after the end of the project
period.)

B. Procurement

The recipient will ensure all procurement transactions will be conducted in a manner providing full and
open competition consistent with 2 CFR § 200.319. In accordance with 2 CFR § 200.324, the

recipient and subawardee(s) must perform a cost or price analysis in connection with applicable
procurement actions, including contract modifications. State and Tribal government entities must follow
procurement standards as outlined in 2 CFR § 200.317.

C. MBE/WBE Reporting, 40 CFR, Part 33, Subpart E (EPA Form 5700-52A)
The recipient agrees to submit a “MBE/WBE Utilization Under Federal Grants and Cooperative

Agreements” report (EPA Form 5700-52A) annually for the duration of the project period. The current
EPA Form 5700-52A with instructions is located at httos://www.epa.gov/grants/epa-grantee-forms

This provision represents an approved exception from the MBE/WBE reporting requirements as
described in 40 CFR Section 33.502.

Reporting is required for assistance agreements where funds are budgeted for procuring construction,
equipment, services and supplies (including funds budgeted for direct procurement by the recipient or
procurement under subawards or loans in the “Other” category) with a cumulative total that exceed the
Simplified Acquisition Threshold (SAT) currently set at $250,000 (the dollar threshold will be
automatically revised whenever the SAT is adjusted; See 2 CFR Section 200.1), including amendments
and/or modifications. All procurement actions are reportable when reporting is required, not just the

EPA_00299545
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 13 of 88

XJ-98T65801-2 Page6é

portion which exceeds the SAT.

Recipients with expended and/or budgeted funds for procurement are required to report annually
whether the planned procurements take place during the reporting period or not. If no budgeted
procurements take place during the reporting period, the recipient should check the box in section
4A when completing the form.

When completing the annual report, recipients are instructed to check the box titled “annual” in section
1B of the form. For the final report, recipients are instructed to check the box indicated for the
“Final Report (project completed)” in section 1B of the form.

The annual reports are due by October 30th of each calendar year and the final report is due within 120
days after the end of the project period, whichever comes first. The recipient will submit the MBE/WBE
report(s) and/or questions to GrantsRegion9@epa.gov and the EPA Grants Specialist identified on page
1 of the award document.

D. Subaward(s)

The recipient's approved budget includes subaward(s). As applicable, the recipient will comply with the
General Term and Condition on reporting of first tier subawards to www.fsrs.gov per “Reporting
Subawards and Executive Compensation” requirement.

EPA_00299546
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 14 of 88

XJ-98T65801-2 Page7

Programmatic Conditions

All previous Programmatic Terms and Conditions remain the same except Condition v. and w. now
applies and Condition h. is deleted.

h.] Conditional Award - Deleted
v.] Inflation Reduction Act (IRA) Technical Assistance (TA) Funding

1. Tracking and Drawdown of Funding by Appropriation and Project Code

For this award, activities will be funded by EPA Environmental Programs and Management Funds
(EPM), DOE's Infrastructure Investment and Jobs Act (IIJA), and Inflation Reduction Act (IRA) Technical
Assistance funds and there will be separate project codes for each source of funding. Accordingly, for
purposes of tracking and the drawdown of funding to perform the activities under this agreement the
following provisions apply:

- The Recipient agrees to have financial and programmatic management systems in place to track
costs according to project codes, source of funding, and any other relevant categories as directed
by the EPA Project Officer. The Recipient agrees to allocate direct costs according to the project
codes in accordance with relative benefits received (2 CFR §200.405 —Allocable costs). EPA will
provide the project codes to the Recipient. Indirect costs shall be allocated consistent with the
uniform grant guidelines (2 CFR §200).

- EPA will provide the project codes to the Recipient upon award and provide training to the
Recipient on how to draw down funds in accordance with the project codes, source of funding,
and other applicable accounting requirements.

« The Recipient must track expenditures of EPA EPM, DOE IIJA, and IRA TA funds separately
based on the associated appropriation and project code, and comply with EPA, DOE, IRA, and
OMB requirements. This applies to subaward recipients as well. This includes the Recipient:

- Tracking IIJA, IRA, and “regular” EPM funds separately using Agency-provided project codes and
accounting fields as appropriate.

¢ Tracking all IIJA, IRA, and non-IIJA expenditures and draw down the funding separately by
appropriation and project code and using the assigned IIJA, IRA, or non-lIJA “site” in ASAP (the
Automated Standard Application Payment system), track expenditures, and include this
information in quarterly progress reports to EPA or as requested.

* Tracking and reporting on outputs and outcomes achieved by project code.

- The Grant Management Officer may amend these provisions as necessary.

EPA_00299547
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 15 of 88

XJ-98T65801-2 Pages

- The EJ TCTAC Project Codes for the SDSU TCTAC are as follows:
- EPA Project Code: —12EPMEJ
- DOE Project Code: 12IIJAEJ
- IRATA Project Code: 12IRATA___—_|
- All Other Lines of Accounting: No Site
2. Allowable uses of IRA Technical Assistance Funds

The authority for assistance awards under this program is Section 60201 of the Inflation Reduction Act
(IRA) which amends the Clean Air Act by adding Section 138(a)(2) and states “$200,000,000 to remain
available until September 30, 2026, to provide technical assistance to eligible entities related to grants
awarded under this section.” The IRA technical assistance (TA) funds issued to the EJ TCTACs are
specifically for the EJ TCTACs to coordinate with the EJ Thriving Communities Grantmaking program
recipients (Grantmakers) and/or provide additional technical assistance and support to applicants and
subgrantee recipients funded through the Grantmaker program. The Grantmakers and their
subawardeees and subgrantees have received and/or will receive funding from the $2.8 billion for
Environmental and Climate Justice Block grants detailed in the statute. The funds issued to the EJ
TCTACs will encourage and facilitate collaboration between the EJ TCTACs and Grantmakers and to
achieve the goals for both programs. Example TCTAC-Grantmaker collaboration activities include but
are not limited to:

- TCTACs actively identify requestors that meet eligibility criteria and are interested in applying for
the TCGM subgrant opportunities.

- TCTACs provide pre and post award support to Grantmaker applicants and grantees as
requested by grantee.

* TCTACs and Grantmakers actively communicate to align communication channels.

- TCTACs publicize Regional Grantmaker funding opportunities on preferred communication
channels.

« TCTACs actively invite (where appropriate) Regional Grantmakers to present on the funding
opportunities at outreach and engagement events with communities.

«+ TCTACs communicate with Grantmakers to understand the funding opportunity program
timelines, regional outreach strategies, core competencies, etc.

EPA_00299548
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 16 of 88

XJ-98T65801-2 Page9

- TCTACs identify severely capacity-constrained entities that are more appropriate for the
Grantmaker non-competitive fixed-amount awards and refer them directly to the Grantmakers for
consideration.

« TCTACs collaborate with the Grantmakers to showcase community success stories for
communities and organizations that receive support from both the TCTACs and Grantmakers.

- TCTACs ensure there is consistent messaging on their respective media and published written
documents when communicating with communities about the Grantmaker program.

Eligible activities for drawdowns include but are not limited to those outlined under the TCTAC-
Grantmaker Collaboration Guidance document. That document is subject to expansion. TCTACS are
required to regularly check with the assigned EPA Project Officer for updated guidance related to IRA TA
funds and allowable uses.

3. IRA Technical Assistance Funds Reporting.

Details on drawdown amounts and activities performed with IRA TA funding should be incorporated and
reported by each EJ TCTAC as part of the required quarterly progress reports. TCTACs must provide a
level of detail in the report on use of the IRA TA funds, expenses, and drawdown amounts over each
quarter sufficient to demonstrate proper accounting and financial management practices to ensure
proper use of IRA TA funds. Each assigned EPA Project Officer will review these quarterly reports for
compliance with this term and condition.

w.] Termination

Notwithstanding the General Term and Condition “Termination”, EPA maintains the right to terminate the
Assistance Agreement only as specified in 2 CFR 200.339 and the version of 2 CFR 200.340 applicable
to EPA grants as of July 1, 2024 pursuant to 89 FR 55262 (July 3, 2024) , when the noncompliance with
the terms and conditions is substantial such that effective performance of the Assistance Agreement is
materially impaired or there is adequate evidence of waste, fraud, or abuse, prompting adverse action by
EPA per 2 CFR 200.339, through either a partial or full termination. In accordance with 2 CFR 200.341,
EPA will provide the Recipient notice of termination.

lf EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-obligate uncommitted
funds and re-obligate them to another Eligible Recipient to effectuate the objectives of the Environmental
Justice Thriving Communities Technical Assistance Centers (TCTAC) Program within 90 days of the de-
obligation and (2) amend the Recipient's Assistance Agreement to reflect the reduced amount, based on
the de-obligation.

*** END OF ASSISTANCE AGREEMENT ***

EPA_00299549
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 17 of 88

Message

From: Voyles, Travis [(O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]
Sent: 1/22/2025 1:59:08 PM

To: Atkinson, Emily [Atkinson.Emily@epa.gov]
cc: Corlett, Thomas [Corlett. Thomas@epa.gov]
Subject: FW: tracking executive orders, Presidential memos, and similar issuances

Attachments: overview of recent Presidential memos.docx

Travis Voyles
C: (202) 787-0595

From: Payne, James (Jim) <payne.james@epa.gov>

Sent: Wednesday, January 22, 2025 8:04 AM

To: Hardy, Michael (he/him/his) <Hardy.Michael@epa.gov>; Packard, Elise <Packard.Elise@epa.gov>; Conrad, Daniel
<conrad.daniel@epa.gov>

Ce: McIntosh, Chad <mcintosh.chad@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>; Donahue, Sean
<donahue.sean@epa.gov>; Carpenter, Wesley <Carpenter.Wesley@epa.gov>; Patrick, Kimberly (she/her/hers)
<Patrick.Kimberly@epa.gov>; Wooden-Aguilar, Helena <Wooden-Aguilar.Helena@epa.gov>

Subject: tracking executive orders, Presidential memos, and similar issuances

Michael - thank you for this draft tracker from Office of Policy for executive orders, Presidential memos, and similar
issuances, and for completion of tasks under them. Pls also be sure to coordinate with OGC and any involved Offices for
review, and keep us posted on any updated versions (especially as might be more issuances this week). | expect that
DAAs and others will find this very helpful. Adding Chad and Travis as FYI.

Sent from my iPhone
Begin forwarded message:

From: "Hardy, Michael (he/him/his)" <Hardy.Michael@epa.gov>

Date: January 22, 2025 at 6:40:22 AM EST

To: "Payne, James (Jim)" <payne.james@ epa.gov>

Subject: RE: Presidential Memo on regulatory review, paragraph 3 - consider extending effective date of rules

Good morning Jim,

OP has taken an initial review of the EO’s on the White House site and has compiled the attached document for
your review. As these increase in number we will need assistance in maintaining/tracking new EO’s.

Michael Hardy

Deputy Associate Administrator and Federal Preservation Officer
Office of Policy

3511-North Building

U.S. Environmental Protection Agency

202-564-7899 — Desk; 571-344-5096 — Mobile

EPA_00299550
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 18 of 88

Please note that I sent this email at a time that was convenient for me without expectation for a response

outside of business hours. If you receive this email outside of your normal working hours, please know that
I do not expect a response until you are back at work during your normal hours.

EPA_00299551
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 19 of 88

Recent Presidential memos, announcements, and EOs

Title

Date

EPA interest

Likely EPA
offices
implicated

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/cabinet-and-cabinet-
level-appointments/" \t""_ self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/sub-cabinet-
appointments/" \t"_ self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/designation-of-acting-
leaders/" \t"_ self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/designation-of-chairmen-
and-acting-chairmen/" \t"_ self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01 /flying-the-flag-of-the-
united-states-at-full-staff-on-inauguration-
day/" \t"_self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/initial-rescissions-of-
harmful-executive-orders-and-actions/" \t
"self" |

1/21/2025

Revokes numerous EOs, including several related to
climate, EJ, DEIA, and regulatory review

OEJCR, OP,
OMS, OAR,
others

and

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/restoring-freedom-of-
speech-and-ending-federal-censorship/"
\t" self" ]

1/21/2025

EPA_00299552
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 131-2 Page 20 of 88

Title Date EPA interest Likely EPA
offices
implicated

[ HYPERLINK 1/21/2025 | Directs all agencies to review the exercise of civil or OECA

"https://www.whitehouse.gov/presidential- criminal enforcement over the last 4 years

actions/2025/01/ending-the-

weaponization-of-the-federal-

government/" \t "_self" ]

[ HYPERLINK 1/21/2025 | “Heads of all departments and agencies in the executive | OMS

"https://www.whitehouse.gov/presidential- branch of Government shall, as soon as practicable,

actions/2025/01/return-to-in-person- take all necessary steps to terminate remote work

work/" \t"_ self" ] arrangements and require employees to return to work

in-person at their respective duty stations on a full-time
basis, provided that the department and agency heads
shall make exemptions they deem necessary.”

[ HYPERLINK 1/21/2025 | Pull back rules from OFR publication, do not propose or | OP

"https://www.whitehouse.gov/presidential- issue a rule without policy level review, consider

actions/2025/01/regulatory-freeze- postponing effective dates

pending-review/" \t "self" ]

[ HYPERLINK 1/21/2025 | “... no Federal civilian position that is vacant atnoon on | OPM

"https://www.whitehouse.gov/presidential- January 20, 2025, may be filled, and no new position

actions/2025/01/hiring-freeze/" \t "self" ] may be created except as otherwise provided for in this

memorandum or other applicable law.” OPM, OMB, and
USDS “shall submit a plan to reduce the size of the
Federal Government’s workforce through efficiency
improvements and attrition” within 90 days.

[ HYPERLINK 1/21/2025 | “...eliminate harmful, coercive “climate” policies that ?

"https://www.whitehouse.gov/presidential- increase the costs of food and fuel.”

actions/2025/0 1/delivering-emergency-

price-relief-for-american-families-and-

defeating-the-cost-of-living-crisis/" \t

"_self" ]

[ HYPERLINK 1/21/2025 | Withdraw from Paris Agreement and from “any OITA, OAR, and

"https://www.whitehouse.gov/presidential- agreement, pact, accord, or similar commitment made others (?)

actions/2025/01/putting-america-first-in- under the United Nations Framework Convention on

Climate Change.” Also “cease or revoke any purported

EPA_00299553
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 21 of 88

Title

Date

EPA interest

Likely EPA
offices
implicated

international-environmental-agreements/"
\t"_self" ]

financial commitment made by the United States under
the United Nations Framework Convention on Climate

Change’ and report within 30 days on actions taken to

do so.

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/granting-pardons-and-
commutation-of-sentences-for-certain-
offenses-relating-to-the-events-at-or-
near-the-united-states-capitol-on-january-
6-2021/" \t"_self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/application-of-protecting-
americans-from-foreign-adversary-
controlled-applications-act-to-tiktok/" \t
"self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/withdrawing-the-united-
states-from-the-worldhealth-
organization/" \t"_ self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/restoring-accountability-
to-policy-influencing-positions-within-the-
federal-workforce/" \t "_self" ]

1/21/2025

EO 13957 that created Schedule F is reinstated with
some modifications and portions of an OPM rule that
was finalized in April of 2024 are inoperative and without
effect

OMS

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/0 1/holding-former-
government-officials-accountablefor-
election-interference-and-improper-

1/21/2025

EPA_00299554
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 22 of 88

Title

Date

EPA interest

Likely EPA
offices
implicated

disclosure-of-sensitive-governmental-
information/" \t"_self" ]

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/0 1/declaring-a-national-
emergency-at-the-southern-border-of-
the-united-states/" \t "self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/memorandum-to-
resolve-the-backlog-of-security-
clearances-for-executive-office-of-the-
president-personnel/" \t "self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/america-first-trade-
policy/" \t "self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/clarifying-the-militarys-
role-in-protecting-the-territorial-integrity-
of-the-united-states/" \t "self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/unleashing-american-
energy/" \t "_self" ]

1/21/2025

“The heads of all agencies shall review all existing
regulations, orders, guidance documents, policies,
settlements, consent orders, and any other agency
actions (collectively, agency actions) to identify those
agency actions that impose an undue burden on the
identification, development, or use of domestic energy
resources — with particular attention to oil, natural gas,
coal, hydropower, biofuels, critical mineral, and nuclear
energy resources — or that are otherwise inconsistent
with the policy set forth in section 2 of this order,

OAR, OP, OGC,
OCFO, OECA,

and other
offices

EPA_00299555
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 23 of 88

Title

Date

EPA interest

Likely EPA
offices
implicated

including restrictions on consumer choice of vehicles
and appliances.”

“Within 30 days of the date of this order, the head of
each agency shall, in consultation with the director of the
Office of Management and Budget (OMB) and the
National Economic Council (NEC), develop and begin
implementing action plans to suspend, revise, or rescind
all agency actions identified as unduly burdensome
under subsection (a) of this section, as expeditiously as
possible and consistent with applicable law.” Revokes
12 prior Executive Orders and terminates the American
Climate Corps. CEQ to provide NEPA guidance in 30
days, and agencies to then revise implementing
regulations. Agencies to eliminate permitting delays.
Disbands the social costs of GHG IWG and documents
based on the IWG’s work or guidance. Within 60 days,
EPA to issue guidance to address inadequacies in the
social cost of carbon calculation. Within 30 days, EPA to
recommend to OMB the legality and applicability of the
2009 GHG endangerment finding. Pause disbursement
of IRA and IIJA funds, review those programs, and
provide a report of that review within 90 days. Submit a
report within 30 days on using enforcement discretion to
further the goals of the EO. “.... identify all agency
actions that impose undue burdens on the domestic
mining and processing of non-fuel minerals and
undertake steps to revise or rescind such actions.”

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/realigning-the-united-
states-refugee-admissions-program/" \t
"self" ]

1/21/2025

EPA_00299556
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 24 of 88

Title

Date

EPA interest

Likely EPA
offices
implicated

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/protecting-the-meaning-
and-value-of-american-citizenship/" \t
"self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/securing-our-borders/" \t
"self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/putting-people-over-fish-
stopping-radical-environmentalism-to-
provide-water-to-southern-california/" \t
"self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/restoring-the-death-
penalty-and-protecting-public-safety/" \t
"self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/promoting-beautiful-
federal-civic-architecture/" \t "_ self" ]

1/21/2025

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/restoring-accountability-
for-career-senior-executives/" \t" self" ]

1/21/2025

Within 30 days, OPM and OMB to issue SES
performance plans that agencies must adopt. Each
agency to reinvigorate the SES system and prize
accountability, reassign SES if necessary, terminate the
current ERB and PRB and re-staff both boards.

OMS

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/declaring-a-national-
energy-emergency/" \t "self" ]

1/21/2025

Agencies are directed to “identify and exercise any
lawful emergency authorities available to them, as well
as all other lawful authorities they may possess, to
facilitate the identification, leasing, siting, production,

EPA_00299557
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 25 of 88

Title

Date

EPA interest

Likely EPA
offices
implicated

transportation, refining, and generation of domestic
energy resources, including, but not limited to, on
Federal lands.” EPA with concurrence by DOE “shall
consider issuing emergency fuel waivers to allow the
year-round sale of E15 gasoline to meet any projected
temporary shortfalls in the supply of gasoline across the
Nation.” Agencies “shall identify and use all relevant
lawful emergency and other authorities available to them
to expedite the completion of all authorized and
appropriated infrastructure, energy, environmental, and
natural resources projects that are within the identified
authority of each of the Secretaries to perform or to
advance.” Agencies “shall identify and use all lawful
emergency or other authorities available to them to
facilitate the supply, refining, and transportation of
energy in and through the West Coast of the United
States, Northeast of the United States, and Alaska.”
Within 30 days, all agencies shall “identify planned or
potential actions to facilitate the Nation’s energy supply
that may be subject to emergency treatment pursuant to
the regulations and nationwide permits promulgated by
the Corps, or jointly by the Corps and EPA, pursuant to
section 404 of the Clean Water Act” and shall provide a
report listing such actions. Each agency is to provide a
status update 30 days after the initial report. Agencies
are also directed to provide a report listing actions that
may be addressed by ESA regulation on consultations in
emergencies.

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/temporary-withdrawal-of-
all-areas-on-the-outer-continental-shelf-
from-offshore-wind-leasing-and-review-

1/21/2025

Withdraws all OCS areas from new or renewed wind
energy leasing. DOI, USDA, DOE, EPA and “all other
relevant agencies, shall not issue new or renewed
approvals, rights of way, permits, leases, or loans for
onshore or offshore wind projects pending the

EPA_00299558
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 131-2 Page 26 of 88

Title Date EPA interest Likely EPA
offices
implicated

of-the-federal-governments-leasing-and- completion of a comprehensive assessment and review

permitting-practices-for-wind-projects/" \t of Federal wind leasing and permitting practices.” DOI

" self" ] to lead that assessment. “The Secretary of the Interior,

the Secretary of Energy, and the Administrator of the
Environmental Protection Agency shall assess the
environmental impact and cost to surrounding
communities of defunct and idle windmills and deliver a
report to the President, through the Assistant to the
President for Economic Policy, with their findings and
recommended authorities to require the removal of such
windmills.”

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/01/reevaluating-and-

realigning-united-states-foreign-aid/" \t

"self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/01/organization-of-the-

national-security-council-and-

subcommittees/" \t'""_ self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/01/the-organization-for-

economic-co-operation-and-

development-oecd-global-tax-deal-

global-tax-deal/" \t"_ self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/01/protecting-the-american-

people-against-invasion/" \t "self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

EPA_00299559
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 131-2 Page 27 of 88

Title Date EPA interest Likely EPA
offices
implicated

actions/2025/0 1/unleashing-alaskas-

extraordinary-resource-potential/" \t

"self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/0 1/protecting-the-united-

states-from-foreign-terrorists-and-

othernational-security-and-public-safety-

threats/" \t "self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/01/america-first-policy-

directive-to-the-secretary-of-state/" \t

"self" ]

[ HYPERLINK 1/21/2025 | In consultation with USDS, each Agency Head shall OMS

"https://www.whitehouse.gov/presidential- establish within their respective Agencies a DOGE Team

actions/2025/01/establishing-and- of at least four employees. Agency Heads shall ensure

implementing-the-presidents-department- that DOGE Team Leads coordinate their work with

of-government-efficiency/" \t""_self" ] USDS and advise their respective Agency Heads on
implementing the President ‘s DOGE Agenda. The
USDS Administrator shall commence a Software
Modernization Initiative to improve the quality and
efficiency of government-wide software, network
infrastructure, and information technology (IT) systems.
Agency Heads shall take all necessary steps, in
coordination with the USDS Administrator and to the
maximum extent consistent with law, to ensure USDS
has full and prompt access to all unclassified agency
records, software systems, and IT systems.

[ HYPERLINK 1/21/2025 | “It is the policy of the United States to recognize two OMS

"https://www.whitehouse.gov/presidential-
actions/2025/01/defending-women-from-
gender-ideology-extremism-and-

sexes, male and female. These sexes are not
changeable and are grounded in fundamental and
incontrovertible reality. Under my direction, the

EPA_00299560
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 28 of 88

Title

Date

EPA interest

Likely EPA
offices
implicated

restoring-biological-truth-to-the-federal-
government/" \t "self" ]

Executive Branch will enforce all sex-protective laws to
promote this reality, and the following definitions shall
govern all Executive interpretation of and application of
Federal law and administration policy...” “When
administering or enforcing sex-based distinctions, every
agency and all Federal employees acting in an official
capacity on behalf of their agency shall use the term
“sex” and not “gender” in all applicable Federal policies
and documents.” “Agencies shall remove all statements,
policies, regulations, forms, communications, or other
internal and external messages that promote or
otherwise inculcate gender ideology, and shall cease
issuing such statements, policies, regulations, forms,
communications or other messages. Agency forms that
require an individual’s sex shall list male or female, and
shall not request gender identity. Agencies shall take all
necessary steps, as permitted by law, to end the Federal
funding of gender ideology.” “Within 120 days of the
date of this order, each agency head shall submit an
update on implementation of this order...”

[ HYPERLINK
"https://www.whitehouse.gov/presidential-
actions/2025/01/ending-radical-and-
wasteful-government-dei-programs-and-
preferencing/" \t "self" ]

1/21/2025

OMB and OPM “shall coordinate the termination of all
discriminatory programs, including illegal DEI and
“diversity, equity, inclusion, and accessibility” (DEIA)
mandates, policies, programs, preferences, and
activities in the Federal Government, under whatever
name they appear.” “Federal employment practices,
including Federal employee performance reviews, shall
reward individual initiative, skills, performance, and hard
work and shall not under any circumstances consider
DEI or DEIA factors, goals, policies, mandates, or
requirements.” Within 60 days agencies are to
terminate DEI, DEIA, and EJ offices and positions; all
equity action plans, actions, initiatives, or programs;

OMS, OCFO,
OEJECR

EPA_00299561
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 131-2 Page 29 of 88

Title Date EPA interest Likely EPA
offices
implicated

equity related grants or contracts, and all DEI and DEIA
performance requirements. Provide to OMB a list of
DEI, DEIA, or “environmental justice” positions,
committees, programs, services, activities, budgets, and
expenditures in existence on November 4, 2024; federal
contractors who provided DEI or DEIA training; and
federal grantees who received funding to advance DEI,
DEIA, or EJ programs, services, or activities.

[ HYPERLINK 1/21/2025 | Within 120 days, a Federal Hiring Plan will be developed | OMS

"https://www.whitehouse.gov/presidential- by the EOP. The plan will, among other things, decrease

actions/2025/01/reforming-the-federal- time to hire to under 80 days and improve the allocation

hiring-process-and-restoring-merit-to- of SES positions. OPM to establish performance metrics
government-service/" \t "_self" ] to evaluate success of the reforms.

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/01/designating-cartels-and-

other-organizations-as-foreign-terrorist-

organizations-and-specially-designated-

global-terrorists/" \t "self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-

actions/2025/01/restoring-names-that-

honor-american-greatness/" \t "_ self" ]

[ HYPERLINK 1/21/2025

"https://www.whitehouse.gov/presidential-
actions/2025/01/guaranteeing-the-states-
protection-against-invasion/" \t "self" ]

EPA_00299562
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 30 of 88

Message

From: Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]

Sent: 3/21/2025 4:14:12 PM

To: Deeley, Blake R. EOP/WHO [Blake.R.Deeley2@who.eop.gov]

cc: Underwood, Emily A. EOP/WHO [Emily.A.Underwood@who.eop.gov]; Blakely, Kyser S. EOP/WHO
[Kyser.S.Blakely@who.eop.gov]; Doffermyre, William L. EOP/WHO [William.L.Doffermyre@who.eop.gov]

Subject: RE: Weekly Updates

Attachments: Weekly Update to NEDC - EPA - Week of March 17_2025-03-21.docx

Attached is the EPA update for the call today. Looking forward to it.

Jess Kramer (water) and Aaron Szabo (air) will be joining and between us three we should be able to speak to anything
energy/cost of living related actions at EPA.

Travis Voyles

Assistant Deputy Administrator

Office of the Administrator

U.S. Environmental Protection Agency
C: (202) 787-0595

From: Deeley, Blake R. EOP/WHO <Blake.R.Deeley2@who.eop.gov>

Sent: Monday, March 17, 2025 7:59 PM

To: jodee_hanson@ios.doi.gov; gregory_wischer@ios.doi.gov; bbrooke@doc.gov; Voyles, Travis
<voyles.travis@epa.gov>; kailee.buller@usda.gov; Scarlett, Katherine R. EOP/CEQ <Katherine.R.Scarlett@ceq.eop.gov>;
alexander.fitzsimmons@hq.doe.gov; milton.w.boyd.civ@army.mil

Cc: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>; Blakely, Kyser S. EOP/WHO
<Kyser.S.Blakely@ who.eop.gov>; Doffermyre, William L. EOP/WHO <William.L.Doffermyre@who.eop.gov>

Subject: Weekly Updates

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good evening!

Great work so far on all your implementation efforts. Thanks to your hard work, we’re making great progress
toward achieving the President’s agenda and unleashing American energy. Keep it up!

As implementation grows across all agencies, so does the need for NEDC to maintain clear visibility on the
numerous achievements, messaging strategies, due outs, specific deregulatory efforts, and other major projects.
Therefore, we’ve developed a comprehensive Weekly Update for each agency. (See attached for your agency’s
specific Weekly Update.)

The Weekly Update is relatively straightforward.

° In Part I (where it says “[Description]’”), please describe your agency’s most significant achievements
from the past week as they relate to permitting and deregulation.

EPA_00299574
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 31 of 88

° In Part II (where it says “[Description]”), please describe your agency’s upcoming public
announcements related to energy projects or policy. If a date has already been set, please include it. Please also
indicate the best point of contact.

° Part III lists the EO tasks specific to your agency and the respective due date. For each task, please
prove the most recent update (subpart b), the actions your agency plans to take going forward, along with a
target completion date (subpart c), and the best point of contact (subpart d).

° In Part IV, please identify and describe specific deregulatory actions your agency is taking or is
planning to take, along with the best point of contact. Importantly, the deregulatory actions listed here should
not duplicate any deregulatory actions already identified in Part III.

° In Part V, please identify and describe permitting actions your agency is taking or is planning to take
with respect to major projects, along with the best point of contact. Importantly, the permitting actions listed
here should not duplicate any permitting actions already identified in Part II.

We understand some responses may be duplicative. In that case, you can refer to a prior response instead of
copying and pasting the same material again. Please submit (via email) the completed Weekly Update by this
Wednesday (3/19) at 10:00 am ET. Please include Will, myself, and DCOSP team (Emily and Kyser) on that
email. Also, please be on the lookout for agency-specific meetings during the back half of this week to discuss
the Weekly Updates, including establishing a consistent schedule for submitting the Weekly Update.

Please let us know if you have any questions. Happy to jump on a call with you to discuss further.

-Blake

Blake Deeley

National Energy Dominance Council
202.814.7253

Blake.r.deeley2 @who.eop.gov

EPA_00299575
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 32 of 88

ENVIRONMENTAL PROTECTION AGENCY

Weekly Update to the National Energy Dominance Council
Week of March 16, 2025

I. Most Significant Achievements (Permitting and/or Deregulatory)

A. EPA Announced Greatest Day in Deregulation History - Last week, EPA announced
the agency will undertake 31 historic actions in the greatest and most consequential day
of deregulation in U.S. history, to advance President Trump’s Day One executive orders
and Power the Great American Comeback. These historic actions will roll back trillions
in regulatory costs and hidden “taxes” on U.S. families. As a result of these
announcements, the cost of living for American families will decrease. It will be more
affordable to purchase a car, heat homes, and operate a business. It will be more
affordable to bring manufacturing into local communities while individuals widely
benefit from the tangible economic impacts.

B. Clarity for Construction Projects under “Waters of the US” - EPA and Army Corps of
Engineers annodunced an expedited review the definition of “waters of the United
States" to provide a revised definition follows the law, and guidance to those in the field
implementing the Biden-era rules to immediately change course to be consistent with
the U.S. Supreme Court’s decision in Sackett. This immediate action will provide relief
to developers involved in construction projects from housing to mining and it reduces
red-tape, cuts overall permitting costs, and lowers the cost of doing business in
communities across the country while protecting the nation’s navigable waters from
pollution.

C. Streamlined Underground Injection Control (UIC) Permitting - EPA is expediting
critical permitting reform and getting decision-making out of the hands of DC and into
the states to support energy and related water projects that incorporate underground
injection wells, either for resource extraction or waste storage. EPA launched an internal
task force to streamline the process to approve state programs to get EPA completely
out of permitting. With new applications for Texas and ongoing application for
Arizona, the Task Force will utilize timing targets to expedite future EPA reviews and
approvals for all the types of UIC state primacy reviews and permitting. Streamlining
UIC permits means faster energy development, creating good-paying jobs, and
ensuring affordable energy for businesses and families.

II. Upcoming Public Announcements
A. — Week of March 24 - No Energy/Cost of Living-Related Announcements Anticipated

1. POC: Travis Voyles (AQ), Molly Vaseliou (OPA)

EPA_00299576
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 33 of 88

ll. EO Tasks

A. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions/2025/01/unleashing-american-energy/" ] (January 20, 2025)

1. Submit report to OMB that identifies whether and how enforcement discretion and
regulations can advance American energy. (No. 129)

a. Due: February 19, 2025

(i) Feb. 19 - EPA has submitted a report to OMB detailing directed a
shift in the EPA Office of Enforcement and Compliance Assurance
(OECA) from heavy-handed enforcement, to a compliance model
and working more collaboratively with states and within the EPA
universe of regional and headquarters/national program offices.
EPA has also been working as part of this process to assess whether
enforcement discretion of authorities and regulations can be utilized.
While EPA’s assessment of these authorities is still ongoing, the
following issue/policy areas have been identified as proprieties for
applying identified enforcement discretion:

(1)  Oiland gas regulations (QQOOOa-c)
(2) | Emission guidelines for EGUs

(3) National Emission Standards for Hazardous Air Pollutants
(NESHAP) (i.e. benzene)

(4) Datacenter and other uses of diesel generators for emergency
use

(5)  Tailpipe vehicle regulations
(6) Coal ash residual storage requirements

(ii) | Feb 12 - EPA announced updated enforcement discretion to allow
the agency to better focus on its core mission and Powering the Great
American Comeback. Specifically, he announced that EPA will
immediately revise National Enforcement and Compliance
Initiatives to ensure that enforcement does not discriminate based on
race and socioeconomic status (as it has under environmental justice
initiatives) or shut down energy production and that it focuses on
the most pressing health and safety issues. This focus on EPA’s
established mission will also provide predictability as EPA considers
changes to regulations, thereby lowering costs for Americans and
relieving the economy of potentially unnecessary bureaucratic
burdens.

EPA_00299577
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 34 of 88

(1) =i HYPERLINK
"https://www.epa.gov/system/ files/documents/2025-
03/implementingnecisconsistently witheosandagency prioriti
es.pdf" |

(2) [ HYPERLINK
"https://www.epa.gov/newsreleases/administrator-zeldin-
directs-enforcement-resources-align-executive-orders-and-
epas' |

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions as
expeditiously as possible, the Agency will deploy enforcement
discretion to ensure the transition to a compliance model with
appropriate regulations. As any enforcement discretion is deployed,
we will provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AQ), Jeff Hall (OQECA)

2. Review and revise all agency actions burdening domestic energy. (No. 115)

a. Due: Immediately

(i) Day 1-Ongoing - See attached EPA Action Tracker for full list of
significant actions, including interim actions and targeted milestones
for deregulatory actions

(ii) © March 12 - EPA announced the agency will undertake 31 historic
actions in the greatest and most consequential day of deregulation
in U.S. history, to advance President Trump’s Day One executive
orders and Power the Great American Comeback. These historic
actions will roll back trillions in regulatory costs and hidden “taxes”
on U.S. families. As a result of these announcements, the cost of
living for American families will decrease. It will be more affordable
to purchase a car, heat homes, and operate a business. It will be more
affordable to bring manufacturing into local communities while
individuals widely benefit from the tangible economic impacts.
([ HYPERLINK "https://www.epa.gov/newsreleases/epa-
launches-biggest-deregulatory-action-us-history" ])

(A) Reconsideration of regulations on power plants (Clean
Power Plan 2.0)

(B) Reconsideration of regulations throttling the oil and
gas industry (OOOO b/c)

3

EPA_00299578
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 35 of 88

(C) Reconsideration of Mercury and Air Toxics Standards
that improperly targeted coal-fired power plants
(MATS)

(D) Reconsideration of mandatory Greenhouse Gas
Reporting Program that imposed significant costs on
the American energy supply (GHG Reporting
Program)

(E) Reconsideration of limitations, guidelines and
standards (ELG) for the Steam Electric Power
Generating Industry to ensure low-cost electricity
while protecting water resources (Steam Electric ELG)

(F) Reconsideration of wastewater regulations for oil and
gas development to help unleash American energy
(Oil and Gas ELG)

(G) Reconsideration of Biden-Harris Administration Risk
Management Program rule that made America’s oil
and natural gas refineries and chemical facilities less
safe (Risk Management Program Rule)

(H) Reconsideration of light-duty, medium-duty, and
heavy-duty vehicle regulations that provided the
foundation for the Biden-Harris electric vehicle
mandate (Car GHG Rules)

(I) Reconsideration of the 2009 Endangerment Finding
and regulations and actions that rely on that Finding
(Endangerment Finding)

(JJ) Reconsideration of technology transition rule that
forces companies to use certain technologies that
increased costs on food at grocery stores and
semiconductor manufacturing (Technology Transition
Rule)

(K) Reconsideration of Particulate Matter National
Ambient Air Quality Standards that shut down
opportunities for American manufacturing and small
businesses (PM 2.5 NAAQS)

(L) Reconsideration of multiple National Emission
Standards for Hazardous Air Pollutants for American
energy and manufacturing sectors (NESHAPs)

EPA_00299579
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 36 of 88

(M) Restructuring the Regional Haze Program that
threatened the supply of affordable energy for
American families (Regional Haze)

(N) Overhauling Biden-Harris Administration’s “Social
Cost of Carbon”

(O) Redirecting enforcement resources to EPA’s core
mission to relieve the economy of unnecessary
bureaucratic burdens that drive up costs for American
consumers (Enforcement Discretion)

(P) Terminating Biden’s Environmental Justice and DEI
arms of the agency (EJ /DEI)

(Q) Ending so-called “Good Neighbor Plan” which the
Biden-Harris Administration used to expand federal
rules to more states and sectors beyond the program’s
traditional focus and led to the rejection of nearly all
State Implementation Plans

(R) Working with states and tribes to resolve massive
backlog with State Implementation Plans and Tribal
Implementation Plans that the  Biden-Harris
Administration refused to resolve (SIPs/TIPs)

(S) Reconsideration of exceptional events rulemaking to
work with states to prioritize the allowance of
prescribed fires within State and_ Tribal
Implementation Plans (Exceptional Events)

(T)  Reconstituting Science Advisory Board and Clean Air
Scientific Advisory Committee (GSAB/CASAC)

(U) Prioritizing coal ash program to expedite state permit
reviews and update coal ash regulations (CCR Rule)

(V) Utilizing enforcement discretion to further North
Carolina’s recovery from Hurricane Helene

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions as
expeditiously as possible, the Agency will implement and provide
updates to NEDC/NEC/OMB.

EPA_00299580
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 37 of 88

d. POC: Travis Voyles (AO)

3. Eliminate all permitting delays. For example, take advantage of general permitting
and permit by rule. And for essential projects, take advantage of all authorities,
including emergency authorities, to expedite the permitting process. (No. 120)

a. Due: Immediately

(i) Feb. 19 - EPA submitted a report to OMB, CEQ, Interior, and
Commerce, and while EPA is still conducting a review of potential
actions to facilitate the consultation process under the Endangered
Species Act with emergency treatment, EPA has identified other
potential short term, immediate solution for emergency authorities
relevant to share with these agencies.

(ii) | Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/approval of energy infrastructure projects, the
Agency in our oversight role (i.e. NEPA/EIS reviews) has limited
our involvement to statutory-related input and ensured
expedited/limited reviews. Additionally, where EPA has had a
contributing permitting approval role, the Agency has expedited the
consideration of those permits.

EPA has worked with DOJ to reevaluate all ongoing litigation
related to enforcement actions or delegated permitting programs
impacting existing permitting and operations.

(1) An example of this is the recent news of DOJ dismissed a
lawsuit against Denka Performance Elastomer LLC (Denka)
concerning its manufacturing facility in LaPlace, LA, which
produces neoprene, a synthetic rubber essential for products
like orthopedic braces, wetsuits and automotive components.
The lawsuit, originally filed by the Biden Administration in
2023, relied on the Clean Air Act’s rarely invoked
“Emergency Powers” provision (42 U.S.C. § 7603). That
statute authorizes EPA to seek immediate restraints on
pollution sources presenting “an imminent and substantial
endangerment” to public health or the environment. In an
effort to satisfy this standard, the Biden-era complaint alleged
a marginally increased risk of harm after prolonged exposure.
The complaint did not allege that emissions from Denka’s
LaPlace plant violated any regulatory air quality standard,
but the Biden-EPA framed the case as part of its “ongoing
effort to advance environmental justice in overburdened
communities.”

As EPA continues to identify other potential immediate solutions for
strategic actions to suspend, revise, or rescind the relevant agency

6

EPA_00299581
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 38 of 88

actions as expeditiously as possible, the Agency will explore the
utilization of the following authorities to provide emergency relief
to facilitate the Nation’s energy supply:

(2) Clean Water Act - No- emergency authorities
identified / available (i.e. CWA § 401)

(3) Clean Air Act -

(A) Sec. 112(4)(4) [clearest and broadest] - “The President
may exempt any stationary source from compliance
with any standard or limitation under this section for
a period of not more than 2 years if the President
determines that the technology to implement such
standard is not available and that it is in the national
security interests of the United States to do so. An
exemption under this paragraph may be extended for
1 or more additional periods, each period not to exceed
2 years. The President shall report to Congress with
respect to each exemption (or extension thereof) made
under this paragraph.”

(B) Sec. 110(f) [permitting] - Provides for exemptions
limited to 4 months and focused on fuel burning
stationary sources providing energy for residential
dwellings or related to high levels of unemployment in
an energy emergency.

(C) Sec. 118 - up to 1 year, but only applies to federal
facilities

b. Weekly Update:

(i) March 20-- To date, EPA has not received any new permit
applications for major energy infrastructure projects under our
primary permitting programs.

(1) EPA Team (AO, Water, Air) met with DPC staff (Theo Merkel)
to discuss permitting and emergency authorities around
pharmaceutical manufacturing facilities, with similar
identified emergency authorities for National Emission
Standards for Hazardous Air Pollutants (NESHAP) as
discussed above.

c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to utilize permitting or emergency authorities for the

7

EPA_00299582
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 39 of 88

relevant agency actions as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB

(ii) Ongoing/TBD - EPA is implementing increased cooperative
federalism principles and focus through permit program
delegation/assumption/ primacy.

(1) Reviewing EPA Standards/Guidance - Although EPA
directly issues some permits, many jurisdictions (states,
territories, tribal nations and municipalities) are approved to
directly implement federal environmental permit programs
on EPA’s behalf. Where EPA has approved the delegation of
permitting and regulatory responsibilities to states, EPA is
returning to a focused oversight role, reducing the burden
placed on these justifications and states to implement their
programs in an efficient manner. In these situations, EPA is
responsible for developing standards and guidance for
permit programs. EPA is reviewing and updating (as needed)
these standards and guidance for permit programs to ensure
jurisdictions do not overstep their authorities under the
authorizing statues.

(2) Focus Areas/Programs to Increase
Delegation/Assumption/Primacy - While delegation is
common in a subset of environmental statutory programs,
EPA is increasing the opportunities for states to assume
additional programs, completely removing the need for full
federal programs and involvement beyond oversight. EPA is
focusing on permitting programs (like Underground Injection
Control (UIC) permitting) that have a direct impact on future
energy projects.

d. POC: Travis Voyles (AQ), Aaron Szabo (OAR), Jess Kramer (OW), Jeff Hall
(OECA)

4. Ensure all agency guidance on greenhouse gas emissions are consistent with OMB
Circular A-4 of September 17, 2003 (Regulatory Analysis), including domestic
versus international effects, appropriate discount rates, and the value of emissions
changes resulting from agency actions. Engage rule-making and regulatory or
policy processes as necessary. (No. 124)

a. Due: Immediately (this is a gating item for another task assigned to EPA,
which is due March 21)

(i) Day 1-Ongoing - EPA completed a review of all agency guidance to
ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory / policy reconsiderations and
updates. EPA and NEDC staff have discussed two potential paths

8

EPA_00299583
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 40 of 88

forward on the reconsideration of the social cost of greenhouse gases
(SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization of
consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission
impacts to individual agencies in their applicable cost-benefit
analyses.

b. Weekly Update: Need NEDC/DCoS feedback on SC-GHG considerations.
c. Interim Action Items and Targeted Completion Dates:

(i) TBD - Announcing path forward on SC-GHG and working with
other federal agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

5. Pause disbursement of funds appropriated through IRA of 2022 and IIJA unless
APEP and OMB approve, including funds for EV charging stations through the
National Electric Vehicle Infrastructure Formula Program and the Charging and
Fueling Infrastructure Discretionary Grant Program, subject to current and
pending decisions. (No. 126)

a. Due: Immediately

(i) Day 1-Ongoing - EPA immediately initiated a funding freeze and
review of all IRA/IJA funding programs. In compliance with
relevant court orders, EPA has released IIJA/IRA awarded and
obligated funding.

(1) Feb. 6 - EPA initiated a review (outside of any EO/OMB
directive) of all IJA/IRA funding programs, which resulted
in some additional pauses of program implementation, but
focused on clearing programs from an implementation,
oversight, and funding source standpoint.

(2) Current Status -

(A) Funding in 2 of the 3 programs ($20B) within the
Greenhouse Gas Reduction Fund have been frozen at
an outside financial agent. On March 18, EPA cancelled
all of the existing grants and pending ongoing
litigation is in the process of getting the remaining
funding returned to the US Gov't.

EPA_00299584
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 41 of 88

(B) All environmental justice related grant programs
(funded by IRA, IIJA, and base appropriations) have
been halted and all active grants have been cancelled
(totalling nearly $2B).

(C) All IRA-funded grant programs have halted new
awards, but awarded and obligated funding is
continuing to flow.

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency funding
programs and policies as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

6. Review and adjust all processes and policies for grants, loans, contracts, and other
financial disbursements for consistency with the policies of this order. (No. 126.1)

a. Due: Immediately

(i) Day 1-Ongoing - Working with DOGE, EPA a review process of all
grants and contracts to ensure compliance, which has resulted in
over $2B in cancellations and more anticipated.

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions and
funding policies as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

7. Identify, revise, and rescind actions unduly burdening domestic mining and
processing of non-fuel minerals. (No. 132)

a. Due: Immediately

(i) Feb. 19 - More broadly, but directly impacting mining and
processing, EPA submitted a report to OMB and CEQ detailing
relevant agency actions to identify potential changes and agency
actions to facilitate the Nation’s energy supply. While EPA is still

10

EPA_00299585
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 42 of 88

coordinating with Army Corps on potential actions to facilitate
direct Corps authority to act with emergency treatment, EPA has
identified a short term, immediate solution, paired with a targeted
revision of the current 2023 definition of “Waters of the United
States” to conform with Sackett v. EPA, 598 U.S. 651 (2023).

(ii) March 12 - EPA and the Army Corps announced a_ joint
memorandum issuing guidance to field staff on implementation of
“continuous surface connection” consistent with the U.S. Supreme
Court’s May 25, 2023, decision in the case of Sackett v. EPA. The
agencies also announced a Federal Register notice publicizing a series
of six listening sessions and a 30-day recommendations docket to
solicit feedback on key aspects of the definition of “waters of the
United States.”

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing - Federal Register notice publicizing a series of six listening
sessions and a 30-day recommendations docket to solicit feedback
on key aspects of the definition of “waters of the United States.”

d. POC: Jess Kramer (OW), Travis Voyles (AQ)

8. Issue guidance to address harms and inadequacies of “social cost of carbon”
calculations, including consideration of eliminating it from any federal permitting
or regulatory decision. (No. 123)

a. Due: March 21, 2025

(i) Day 1-Ongoing - EPA completed a review of all agency guidance to
ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory / policy reconsiderations and
updates. EPA and NEDC staff have discussed two potential paths
forward on the reconsideration of the social cost of greenhouse gases
(SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization of
consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission
impacts to individual agencies in their applicable cost-benefit
analyses.

b. Weekly Update: Need NEDC/DCoS feedback on SC-GHG considerations.

c. Interim Action Items and Targeted Completion Dates:

11

EPA_00299586
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 43 of 88

(i) TBD - Announcing path forward on SC-GHG and working with
other federal agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

9. Submit a report to NEC and OMB detailing findings and recommendations for
aligning appropriated funds related to IRA and IIJA with the policies of this order.
(No. 127)

a. Due: April 20, 2025
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing - EPA is identifying funding programs into three primary
categories and will provide the comprehensive report to NEC/OMB

by April 20. EPA has continued to provide ongoing feedback to OMB
as we have made individual decisions on programs and funding.

(1) (1) programs to continue to implement as is; (2) programs that
require updated implementation guidance or changes to
implementation; and (3) programs that are not in alignment
with Adminstration priorities and should not continue.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

10. Identify and eliminate all environmental considerations not required by legislation
and use the most robust non-arbitrary and non-ideological methodologies for
permitting adjudications and regulatory processes. (No. 122)

a. Due: Ongoing
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing comprehensive review and related decisions implemented
d. POC: Travis Voyles (AO)

B. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions /2025/01/declaring-a-national-energy-emergency/" ] (January 20, 2025)

1. Consider issuing emergency fuel waivers for year-round sale of E15 gasoline. (No.
167)
a. Due: Immediately
12

EPA_00299587
2:25-Ccv-02152-RMG

(i)

Date Filed 04/21/25 = Entry Number 131-2 Page 44 of 88

Feb. 21 - EPA announced the agency’s decision to uphold the
current April 28, 2025, implementation date to provide parity for E15
and E10 in Midwestern states (IL, IA, MN, MO, NE, OH, SD, WI).
This action provides regulatory certainty for fuel suppliers and
expands consumer access to E15 year-round in these states. At the
same time, in recognition of concerns raised by some regarding fuel
supply transitions, EPA intends to consider granting requests for a
one-year delay for those states seeking additional time for
compliance. Along with this, EPA will still have the ability to issue
emergency fuel waivers to allow the year-round sale of E15.

(1) [ HYPERLINK "https: //www.epa.gov/newsreleases/ahead-
summer-driving-season-epa-allows-expanded-el15-access-
midwest-states-year-round" |

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing - EPA is assessing the need to issue emergency fuel waivers
to allow the year-round sale of E15.
d. POC: Aaron Szabo (OAR), Travis Voyles (AO)
2. Status report on actions taken and planned actions to promote energy use

consistent with this order. (No. 169)

a.

b.

d.

(i)

Due: March 21, 2025 (last report submitted [Insert Date])
Weekly Update: No Update

Interim Action Items and Targeted Completion Dates:

Ongoing updates provided weekly

POC: Travis Voyles (AO)

[ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-

actions/2025/03/immediate-expansion-of-american-timber-production/" | (March 1,

2025)

1. Eliminate all undue delays in permitting processes related to timber production,
and take all steps to suspend, revise, or rescind all existing agency actions that
impose an undue burden on timber production. (No. 472)

a.

Due: Immediately and ongoing

(i)

Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/approval of timber related activities or infrastructure

13

EPA_00299588
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 45 of 88

projects, the Agency in our oversight role (i.e. NEPA/EIS reviews)
has limited our involvement to statutory-related input and ensured
expedited/limited reviews. Additionally, where EPA has had a
contributing permitting approval role, the Agency has expedited the
consideration of those permits.

(1) | EPA also may have permitting involvement in timber-related
processing facilities under the Clean Air Act and Clean Water
Act. As detailed on our general approach to permitting.

(ii) March 12 - EPA took action to decrease the risk of future
catastrophic wildfires by revisiting the Obama-Biden
Administration’s Exceptional Events rulemaking and prioritizing
the allowance of prescribed fires within State and _ Tribal
Implementation Plans (SIPs/TIPs). When EPA reviews SIPs and
TIPs, EPA will work to ensure states and other entities that work
within those states can use prescribed fires to properly manage their
forests, without being unfairly penalized when it comes to assessing
their air quality. EPA will convene meetings with state and tribal air
agencies and state, local, and federal forest managers to evaluate
ways to ease unnecessary burdens that prevent prescribed fires.
These unnecessary burdens are related to, but not limited to,
Exceptional Events, Regional Haze, Interstate Transport, and
International Transport.

(1) [ HYPERLINK
"https://www.epa.gov /newsreleases/administrator-zeldin-
takes-action-decrease-risk-future-catastrophic-wildfires" ]

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AO), Jess Kramer (OW), Aaron Szabo (OAR)

2. Maximize use of ESA emergency consultation regulations to facilitate timber
production. (No. 473)

a. Due: Ongoing

(i) Feb. 19-Ongoing - EPA submitted a report to OMB, CEQ, Interior,
and Commerce, and while EPA is still conducting a review of
potential actions to facilitate the consultation process under the
Endangered Species Act with emergency treatment, EPA has
identified other potential short term, immediate solution for
emergency authorities relevant to share with these agencies.

14

EPA_00299589
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 46 of 88

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AO), Jess Kramer (OW), Aaron Szabo (OAR)

IV. Progress Updates on Specific Deregulatory Matters (excluding those covered above)

A. — See attached EPA Action Tracker for full list of significant actions, including interim
actions and targeted milestones for deregulatory actions.

1. Weekly Update: No Update
2. POC: Travis Voyles (AQ)
V. Major Project Permitting Status (excluding those covered above)

A. Constitution Pipeline (PA/NY)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)
B. Enbridge Line 5 Project (WI/MI)
1. Interim Action Items and Targeted Completion Dates:
a. Reevaluating Biden EPA’s finding under CWA that project may have

“substantial and unacceptable” impacts, which was used throughout
permitting /review process.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)
Cc. NESE Pipeline (PA/ NY/NJ)

1. Interim Action Items and Targeted Completion Dates:

15

EPA_00299590
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 47 of 88

a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY/NJ on 401
certification.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)

D. Northern Access Pipeline (PA/NY)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)
E. Energy Transfer - U.S. Gov’t Debarment Proceedings
1. Interim Action Items and Targeted Completion Dates:
a. March 10 - EPA dismissed proposed debarment proceedings from Biden
Administration and then PA AG Shapiro state-level criminal CWA

violations, ensuring Energy Transfer would be eligible for federal
contracting opportunities (i.e. Trans-Panama Gateway Pipeline project).

2. Weekly Update: No Update

3. POC: Travis Voyles (AQ)

16

EPA_00299591
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 48 of 88

Message

From: Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]

Sent: 3/21/2025 4:16:02 PM

To: Kramer, Jessica L. [kramer.jessical@epa.gov]; Szabo, Aaron [Szabo.Aaron@epa.gov]

Subject: NEDC/DCoS Update Call

Attachments: Weekly Update to NEDC - EPA - Week of March 17_2025-03-21.docx

Here is the document they have to go off of...who knows how this will go.

Travis Voyles

Assistant Deputy Administrator

Office of the Administrator

U.S. Environmental Protection Agency
C: (202) 787-0595

EPA_00299592
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 49 of 88

ENVIRONMENTAL PROTECTION AGENCY

Weekly Update to the National Energy Dominance Council
Week of March 16, 2025

I. Most Significant Achievements (Permitting and/or Deregulatory)

A. EPA Announced Greatest Day in Deregulation History - Last week, EPA announced
the agency will undertake 31 historic actions in the greatest and most consequential day
of deregulation in U.S. history, to advance President Trump’s Day One executive orders
and Power the Great American Comeback. These historic actions will roll back trillions
in regulatory costs and hidden “taxes” on U.S. families. As a result of these
announcements, the cost of living for American families will decrease. It will be more
affordable to purchase a car, heat homes, and operate a business. It will be more
affordable to bring manufacturing into local communities while individuals widely
benefit from the tangible economic impacts.

B. Clarity for Construction Projects under “Waters of the US” - EPA and Army Corps of
Engineers annodunced an expedited review the definition of “waters of the United
States" to provide a revised definition follows the law, and guidance to those in the field
implementing the Biden-era rules to immediately change course to be consistent with
the U.S. Supreme Court’s decision in Sackett. This immediate action will provide relief
to developers involved in construction projects from housing to mining and it reduces
red-tape, cuts overall permitting costs, and lowers the cost of doing business in
communities across the country while protecting the nation’s navigable waters from
pollution.

C. Streamlined Underground Injection Control (UIC) Permitting - EPA is expediting
critical permitting reform and getting decision-making out of the hands of DC and into
the states to support energy and related water projects that incorporate underground
injection wells, either for resource extraction or waste storage. EPA launched an internal
task force to streamline the process to approve state programs to get EPA completely
out of permitting. With new applications for Texas and ongoing application for
Arizona, the Task Force will utilize timing targets to expedite future EPA reviews and
approvals for all the types of UIC state primacy reviews and permitting. Streamlining
UIC permits means faster energy development, creating good-paying jobs, and
ensuring affordable energy for businesses and families.

II. Upcoming Public Announcements
A. — Week of March 24 - No Energy/Cost of Living-Related Announcements Anticipated

1. POC: Travis Voyles (AQ), Molly Vaseliou (OPA)

EPA_00299593
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 50 of 88

ll. EO Tasks

A. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions/2025/01/unleashing-american-energy/" ] (January 20, 2025)

1. Submit report to OMB that identifies whether and how enforcement discretion and
regulations can advance American energy. (No. 129)

a. Due: February 19, 2025

(i) Feb. 19 - EPA has submitted a report to OMB detailing directed a
shift in the EPA Office of Enforcement and Compliance Assurance
(OECA) from heavy-handed enforcement, to a compliance model
and working more collaboratively with states and within the EPA
universe of regional and headquarters/national program offices.
EPA has also been working as part of this process to assess whether
enforcement discretion of authorities and regulations can be utilized.
While EPA’s assessment of these authorities is still ongoing, the
following issue/policy areas have been identified as proprieties for
applying identified enforcement discretion:

(1)  Oiland gas regulations (QQOOOa-c)
(2) | Emission guidelines for EGUs

(3) National Emission Standards for Hazardous Air Pollutants
(NESHAP) (i.e. benzene)

(4) Datacenter and other uses of diesel generators for emergency
use

(5)  Tailpipe vehicle regulations
(6) Coal ash residual storage requirements

(ii) | Feb 12 - EPA announced updated enforcement discretion to allow
the agency to better focus on its core mission and Powering the Great
American Comeback. Specifically, he announced that EPA will
immediately revise National Enforcement and Compliance
Initiatives to ensure that enforcement does not discriminate based on
race and socioeconomic status (as it has under environmental justice
initiatives) or shut down energy production and that it focuses on
the most pressing health and safety issues. This focus on EPA’s
established mission will also provide predictability as EPA considers
changes to regulations, thereby lowering costs for Americans and
relieving the economy of potentially unnecessary bureaucratic
burdens.

EPA_00299594
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 51 of 88

(1) =i HYPERLINK
"https://www.epa.gov/system/ files/documents/2025-
03/implementingnecisconsistently witheosandagency prioriti
es.pdf" |

(2) [ HYPERLINK
"https://www.epa.gov/newsreleases/administrator-zeldin-
directs-enforcement-resources-align-executive-orders-and-
epas' |

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions as
expeditiously as possible, the Agency will deploy enforcement
discretion to ensure the transition to a compliance model with
appropriate regulations. As any enforcement discretion is deployed,
we will provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AQ), Jeff Hall (OQECA)

2. Review and revise all agency actions burdening domestic energy. (No. 115)

a. Due: Immediately

(i) Day 1-Ongoing - See attached EPA Action Tracker for full list of
significant actions, including interim actions and targeted milestones
for deregulatory actions

(ii) © March 12 - EPA announced the agency will undertake 31 historic
actions in the greatest and most consequential day of deregulation
in U.S. history, to advance President Trump’s Day One executive
orders and Power the Great American Comeback. These historic
actions will roll back trillions in regulatory costs and hidden “taxes”
on U.S. families. As a result of these announcements, the cost of
living for American families will decrease. It will be more affordable
to purchase a car, heat homes, and operate a business. It will be more
affordable to bring manufacturing into local communities while
individuals widely benefit from the tangible economic impacts.
([ HYPERLINK "https://www.epa.gov/newsreleases/epa-
launches-biggest-deregulatory-action-us-history" ])

(A) Reconsideration of regulations on power plants (Clean
Power Plan 2.0)

(B) Reconsideration of regulations throttling the oil and
gas industry (OOOO b/c)

3

EPA_00299595
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 52 of 88

(C) Reconsideration of Mercury and Air Toxics Standards
that improperly targeted coal-fired power plants
(MATS)

(D) Reconsideration of mandatory Greenhouse Gas
Reporting Program that imposed significant costs on
the American energy supply (GHG Reporting
Program)

(E) Reconsideration of limitations, guidelines and
standards (ELG) for the Steam Electric Power
Generating Industry to ensure low-cost electricity
while protecting water resources (Steam Electric ELG)

(F) Reconsideration of wastewater regulations for oil and
gas development to help unleash American energy
(Oil and Gas ELG)

(G) Reconsideration of Biden-Harris Administration Risk
Management Program rule that made America’s oil
and natural gas refineries and chemical facilities less
safe (Risk Management Program Rule)

(H) Reconsideration of light-duty, medium-duty, and
heavy-duty vehicle regulations that provided the
foundation for the Biden-Harris electric vehicle
mandate (Car GHG Rules)

(I) Reconsideration of the 2009 Endangerment Finding
and regulations and actions that rely on that Finding
(Endangerment Finding)

(JJ) Reconsideration of technology transition rule that
forces companies to use certain technologies that
increased costs on food at grocery stores and
semiconductor manufacturing (Technology Transition
Rule)

(K) Reconsideration of Particulate Matter National
Ambient Air Quality Standards that shut down
opportunities for American manufacturing and small
businesses (PM 2.5 NAAQS)

(L) Reconsideration of multiple National Emission
Standards for Hazardous Air Pollutants for American
energy and manufacturing sectors (NESHAPs)

EPA_00299596
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 53 of 88

(M) Restructuring the Regional Haze Program that
threatened the supply of affordable energy for
American families (Regional Haze)

(N) Overhauling Biden-Harris Administration’s “Social
Cost of Carbon”

(O) Redirecting enforcement resources to EPA’s core
mission to relieve the economy of unnecessary
bureaucratic burdens that drive up costs for American
consumers (Enforcement Discretion)

(P) Terminating Biden’s Environmental Justice and DEI
arms of the agency (EJ /DEI)

(Q) Ending so-called “Good Neighbor Plan” which the
Biden-Harris Administration used to expand federal
rules to more states and sectors beyond the program’s
traditional focus and led to the rejection of nearly all
State Implementation Plans

(R) Working with states and tribes to resolve massive
backlog with State Implementation Plans and Tribal
Implementation Plans that the  Biden-Harris
Administration refused to resolve (SIPs/TIPs)

(S) Reconsideration of exceptional events rulemaking to
work with states to prioritize the allowance of
prescribed fires within State and_ Tribal
Implementation Plans (Exceptional Events)

(T)  Reconstituting Science Advisory Board and Clean Air
Scientific Advisory Committee (GSAB/CASAC)

(U) Prioritizing coal ash program to expedite state permit
reviews and update coal ash regulations (CCR Rule)

(V) Utilizing enforcement discretion to further North
Carolina’s recovery from Hurricane Helene

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions as
expeditiously as possible, the Agency will implement and provide
updates to NEDC/NEC/OMB.

EPA_00299597
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 54 of 88

d. POC: Travis Voyles (AO)

3. Eliminate all permitting delays. For example, take advantage of general permitting
and permit by rule. And for essential projects, take advantage of all authorities,
including emergency authorities, to expedite the permitting process. (No. 120)

a. Due: Immediately

(i) Feb. 19 - EPA submitted a report to OMB, CEQ, Interior, and
Commerce, and while EPA is still conducting a review of potential
actions to facilitate the consultation process under the Endangered
Species Act with emergency treatment, EPA has identified other
potential short term, immediate solution for emergency authorities
relevant to share with these agencies.

(ii) | Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/approval of energy infrastructure projects, the
Agency in our oversight role (i.e. NEPA/EIS reviews) has limited
our involvement to statutory-related input and ensured
expedited/limited reviews. Additionally, where EPA has had a
contributing permitting approval role, the Agency has expedited the
consideration of those permits.

EPA has worked with DOJ to reevaluate all ongoing litigation
related to enforcement actions or delegated permitting programs
impacting existing permitting and operations.

(1) An example of this is the recent news of DOJ dismissed a
lawsuit against Denka Performance Elastomer LLC (Denka)
concerning its manufacturing facility in LaPlace, LA, which
produces neoprene, a synthetic rubber essential for products
like orthopedic braces, wetsuits and automotive components.
The lawsuit, originally filed by the Biden Administration in
2023, relied on the Clean Air Act’s rarely invoked
“Emergency Powers” provision (42 U.S.C. § 7603). That
statute authorizes EPA to seek immediate restraints on
pollution sources presenting “an imminent and substantial
endangerment” to public health or the environment. In an
effort to satisfy this standard, the Biden-era complaint alleged
a marginally increased risk of harm after prolonged exposure.
The complaint did not allege that emissions from Denka’s
LaPlace plant violated any regulatory air quality standard,
but the Biden-EPA framed the case as part of its “ongoing
effort to advance environmental justice in overburdened
communities.”

As EPA continues to identify other potential immediate solutions for
strategic actions to suspend, revise, or rescind the relevant agency

6

EPA_00299598
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 55 of 88

actions as expeditiously as possible, the Agency will explore the
utilization of the following authorities to provide emergency relief
to facilitate the Nation’s energy supply:

(2) Clean Water Act - No- emergency authorities
identified / available (i.e. CWA § 401)

(3) Clean Air Act -

(A) Sec. 112(4)(4) [clearest and broadest] - “The President
may exempt any stationary source from compliance
with any standard or limitation under this section for
a period of not more than 2 years if the President
determines that the technology to implement such
standard is not available and that it is in the national
security interests of the United States to do so. An
exemption under this paragraph may be extended for
1 or more additional periods, each period not to exceed
2 years. The President shall report to Congress with
respect to each exemption (or extension thereof) made
under this paragraph.”

(B) Sec. 110(f) [permitting] - Provides for exemptions
limited to 4 months and focused on fuel burning
stationary sources providing energy for residential
dwellings or related to high levels of unemployment in
an energy emergency.

(C) Sec. 118 - up to 1 year, but only applies to federal
facilities

b. Weekly Update:

(i) March 20-- To date, EPA has not received any new permit
applications for major energy infrastructure projects under our
primary permitting programs.

(1) EPA Team (AO, Water, Air) met with DPC staff (Theo Merkel)
to discuss permitting and emergency authorities around
pharmaceutical manufacturing facilities, with similar
identified emergency authorities for National Emission
Standards for Hazardous Air Pollutants (NESHAP) as
discussed above.

c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to utilize permitting or emergency authorities for the

7

EPA_00299599
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 56 of 88

relevant agency actions as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB

(ii) Ongoing/TBD - EPA is implementing increased cooperative
federalism principles and focus through permit program
delegation/assumption/ primacy.

(1) Reviewing EPA Standards/Guidance - Although EPA
directly issues some permits, many jurisdictions (states,
territories, tribal nations and municipalities) are approved to
directly implement federal environmental permit programs
on EPA’s behalf. Where EPA has approved the delegation of
permitting and regulatory responsibilities to states, EPA is
returning to a focused oversight role, reducing the burden
placed on these justifications and states to implement their
programs in an efficient manner. In these situations, EPA is
responsible for developing standards and guidance for
permit programs. EPA is reviewing and updating (as needed)
these standards and guidance for permit programs to ensure
jurisdictions do not overstep their authorities under the
authorizing statues.

(2) Focus Areas/Programs to Increase
Delegation/Assumption/Primacy - While delegation is
common in a subset of environmental statutory programs,
EPA is increasing the opportunities for states to assume
additional programs, completely removing the need for full
federal programs and involvement beyond oversight. EPA is
focusing on permitting programs (like Underground Injection
Control (UIC) permitting) that have a direct impact on future
energy projects.

d. POC: Travis Voyles (AQ), Aaron Szabo (OAR), Jess Kramer (OW), Jeff Hall
(OECA)

4. Ensure all agency guidance on greenhouse gas emissions are consistent with OMB
Circular A-4 of September 17, 2003 (Regulatory Analysis), including domestic
versus international effects, appropriate discount rates, and the value of emissions
changes resulting from agency actions. Engage rule-making and regulatory or
policy processes as necessary. (No. 124)

a. Due: Immediately (this is a gating item for another task assigned to EPA,
which is due March 21)

(i) Day 1-Ongoing - EPA completed a review of all agency guidance to
ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory / policy reconsiderations and
updates. EPA and NEDC staff have discussed two potential paths

8

EPA_00299600
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 57 of 88

forward on the reconsideration of the social cost of greenhouse gases
(SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization of
consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission
impacts to individual agencies in their applicable cost-benefit
analyses.

b. Weekly Update: Need NEDC/DCoS feedback on SC-GHG considerations.
c. Interim Action Items and Targeted Completion Dates:

(i) TBD - Announcing path forward on SC-GHG and working with
other federal agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

5. Pause disbursement of funds appropriated through IRA of 2022 and IIJA unless
APEP and OMB approve, including funds for EV charging stations through the
National Electric Vehicle Infrastructure Formula Program and the Charging and
Fueling Infrastructure Discretionary Grant Program, subject to current and
pending decisions. (No. 126)

a. Due: Immediately

(i) Day 1-Ongoing - EPA immediately initiated a funding freeze and
review of all IRA/IJA funding programs. In compliance with
relevant court orders, EPA has released IIJA/IRA awarded and
obligated funding.

(1) Feb. 6 - EPA initiated a review (outside of any EO/OMB
directive) of all IJA/IRA funding programs, which resulted
in some additional pauses of program implementation, but
focused on clearing programs from an implementation,
oversight, and funding source standpoint.

(2) Current Status -

(A) Funding in 2 of the 3 programs ($20B) within the
Greenhouse Gas Reduction Fund have been frozen at
an outside financial agent. On March 18, EPA cancelled
all of the existing grants and pending ongoing
litigation is in the process of getting the remaining
funding returned to the US Gov't.

EPA_00299601
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 58 of 88

(B) All environmental justice related grant programs
(funded by IRA, IIJA, and base appropriations) have
been halted and all active grants have been cancelled
(totalling nearly $2B).

(C) All IRA-funded grant programs have halted new
awards, but awarded and obligated funding is
continuing to flow.

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency funding
programs and policies as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

6. Review and adjust all processes and policies for grants, loans, contracts, and other
financial disbursements for consistency with the policies of this order. (No. 126.1)

a. Due: Immediately

(i) Day 1-Ongoing - Working with DOGE, EPA a review process of all
grants and contracts to ensure compliance, which has resulted in
over $2B in cancellations and more anticipated.

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions and
funding policies as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

7. Identify, revise, and rescind actions unduly burdening domestic mining and
processing of non-fuel minerals. (No. 132)

a. Due: Immediately

(i) Feb. 19 - More broadly, but directly impacting mining and
processing, EPA submitted a report to OMB and CEQ detailing
relevant agency actions to identify potential changes and agency
actions to facilitate the Nation’s energy supply. While EPA is still

10

EPA_00299602
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 59 of 88

coordinating with Army Corps on potential actions to facilitate
direct Corps authority to act with emergency treatment, EPA has
identified a short term, immediate solution, paired with a targeted
revision of the current 2023 definition of “Waters of the United
States” to conform with Sackett v. EPA, 598 U.S. 651 (2023).

(ii) March 12 - EPA and the Army Corps announced a_ joint
memorandum issuing guidance to field staff on implementation of
“continuous surface connection” consistent with the U.S. Supreme
Court’s May 25, 2023, decision in the case of Sackett v. EPA. The
agencies also announced a Federal Register notice publicizing a series
of six listening sessions and a 30-day recommendations docket to
solicit feedback on key aspects of the definition of “waters of the
United States.”

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing - Federal Register notice publicizing a series of six listening
sessions and a 30-day recommendations docket to solicit feedback
on key aspects of the definition of “waters of the United States.”

d. POC: Jess Kramer (OW), Travis Voyles (AQ)

8. Issue guidance to address harms and inadequacies of “social cost of carbon”
calculations, including consideration of eliminating it from any federal permitting
or regulatory decision. (No. 123)

a. Due: March 21, 2025

(i) Day 1-Ongoing - EPA completed a review of all agency guidance to
ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory / policy reconsiderations and
updates. EPA and NEDC staff have discussed two potential paths
forward on the reconsideration of the social cost of greenhouse gases
(SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization of
consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission
impacts to individual agencies in their applicable cost-benefit
analyses.

b. Weekly Update: Need NEDC/DCoS feedback on SC-GHG considerations.

c. Interim Action Items and Targeted Completion Dates:

11

EPA_00299603
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 60 of 88

(i) TBD - Announcing path forward on SC-GHG and working with
other federal agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

9. Submit a report to NEC and OMB detailing findings and recommendations for
aligning appropriated funds related to IRA and IIJA with the policies of this order.
(No. 127)

a. Due: April 20, 2025
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing - EPA is identifying funding programs into three primary
categories and will provide the comprehensive report to NEC/OMB

by April 20. EPA has continued to provide ongoing feedback to OMB
as we have made individual decisions on programs and funding.

(1) (1) programs to continue to implement as is; (2) programs that
require updated implementation guidance or changes to
implementation; and (3) programs that are not in alignment
with Adminstration priorities and should not continue.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

10. Identify and eliminate all environmental considerations not required by legislation
and use the most robust non-arbitrary and non-ideological methodologies for
permitting adjudications and regulatory processes. (No. 122)

a. Due: Ongoing
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing comprehensive review and related decisions implemented
d. POC: Travis Voyles (AO)

B. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions /2025/01/declaring-a-national-energy-emergency/" ] (January 20, 2025)

1. Consider issuing emergency fuel waivers for year-round sale of E15 gasoline. (No.
167)
a. Due: Immediately
12

EPA_00299604
2:25-Ccv-02152-RMG

(i)

Date Filed 04/21/25 = Entry Number 131-2 Page 61 of 88

Feb. 21 - EPA announced the agency’s decision to uphold the
current April 28, 2025, implementation date to provide parity for E15
and E10 in Midwestern states (IL, IA, MN, MO, NE, OH, SD, WI).
This action provides regulatory certainty for fuel suppliers and
expands consumer access to E15 year-round in these states. At the
same time, in recognition of concerns raised by some regarding fuel
supply transitions, EPA intends to consider granting requests for a
one-year delay for those states seeking additional time for
compliance. Along with this, EPA will still have the ability to issue
emergency fuel waivers to allow the year-round sale of E15.

(1) [ HYPERLINK "https: //www.epa.gov/newsreleases/ahead-
summer-driving-season-epa-allows-expanded-el15-access-
midwest-states-year-round" |

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing - EPA is assessing the need to issue emergency fuel waivers
to allow the year-round sale of E15.
d. POC: Aaron Szabo (OAR), Travis Voyles (AO)
2. Status report on actions taken and planned actions to promote energy use

consistent with this order. (No. 169)

a.

b.

d.

(i)

Due: March 21, 2025 (last report submitted [Insert Date])
Weekly Update: No Update

Interim Action Items and Targeted Completion Dates:

Ongoing updates provided weekly

POC: Travis Voyles (AO)

[ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-

actions/2025/03/immediate-expansion-of-american-timber-production/" | (March 1,

2025)

1. Eliminate all undue delays in permitting processes related to timber production,
and take all steps to suspend, revise, or rescind all existing agency actions that
impose an undue burden on timber production. (No. 472)

a.

Due: Immediately and ongoing

(i)

Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/approval of timber related activities or infrastructure

13

EPA_00299605
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 62 of 88

projects, the Agency in our oversight role (i.e. NEPA/EIS reviews)
has limited our involvement to statutory-related input and ensured
expedited/limited reviews. Additionally, where EPA has had a
contributing permitting approval role, the Agency has expedited the
consideration of those permits.

(1) | EPA also may have permitting involvement in timber-related
processing facilities under the Clean Air Act and Clean Water
Act. As detailed on our general approach to permitting.

(ii) March 12 - EPA took action to decrease the risk of future
catastrophic wildfires by revisiting the Obama-Biden
Administration’s Exceptional Events rulemaking and prioritizing
the allowance of prescribed fires within State and _ Tribal
Implementation Plans (SIPs/TIPs). When EPA reviews SIPs and
TIPs, EPA will work to ensure states and other entities that work
within those states can use prescribed fires to properly manage their
forests, without being unfairly penalized when it comes to assessing
their air quality. EPA will convene meetings with state and tribal air
agencies and state, local, and federal forest managers to evaluate
ways to ease unnecessary burdens that prevent prescribed fires.
These unnecessary burdens are related to, but not limited to,
Exceptional Events, Regional Haze, Interstate Transport, and
International Transport.

(1) [ HYPERLINK
"https://www.epa.gov /newsreleases/administrator-zeldin-
takes-action-decrease-risk-future-catastrophic-wildfires" ]

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AO), Jess Kramer (OW), Aaron Szabo (OAR)

2. Maximize use of ESA emergency consultation regulations to facilitate timber
production. (No. 473)

a. Due: Ongoing

(i) Feb. 19-Ongoing - EPA submitted a report to OMB, CEQ, Interior,
and Commerce, and while EPA is still conducting a review of
potential actions to facilitate the consultation process under the
Endangered Species Act with emergency treatment, EPA has
identified other potential short term, immediate solution for
emergency authorities relevant to share with these agencies.

14

EPA_00299606
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 63 of 88

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AO), Jess Kramer (OW), Aaron Szabo (OAR)

IV. Progress Updates on Specific Deregulatory Matters (excluding those covered above)

A. — See attached EPA Action Tracker for full list of significant actions, including interim
actions and targeted milestones for deregulatory actions.

1. Weekly Update: No Update
2. POC: Travis Voyles (AQ)
V. Major Project Permitting Status (excluding those covered above)

A. Constitution Pipeline (PA/NY)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)
B. Enbridge Line 5 Project (WI/MI)
1. Interim Action Items and Targeted Completion Dates:
a. Reevaluating Biden EPA’s finding under CWA that project may have

“substantial and unacceptable” impacts, which was used throughout
permitting /review process.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)
Cc. NESE Pipeline (PA/ NY/NJ)

1. Interim Action Items and Targeted Completion Dates:

15

EPA_00299607
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 64 of 88

a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY/NJ on 401
certification.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)

D. Northern Access Pipeline (PA/NY)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.

2. Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)
E. Energy Transfer - U.S. Gov’t Debarment Proceedings
1. Interim Action Items and Targeted Completion Dates:
a. March 10 - EPA dismissed proposed debarment proceedings from Biden
Administration and then PA AG Shapiro state-level criminal CWA

violations, ensuring Energy Transfer would be eligible for federal
contracting opportunities (i.e. Trans-Panama Gateway Pipeline project).

2. Weekly Update: No Update

3. POC: Travis Voyles (AQ)

16

EPA_00299608
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 65 of 88

This document is produced in native format.

Original file name:

Grant Termination List_Mar22.xlsx

EPA_00299635 - EPA_00299651
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 66 of 88

Message

From: Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]

Sent: 3/24/2025 9:54:36 PM

To: Talmage, Sarah [Talmage.Sarah@epa.gov]

Subject: FW: EPA Questions

Attachments: AK Time Sensitive Projects (EPA).docx; EPA Funding.xlsx

Travis Voyles
C: (202) 787-0595

From: Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov>
Sent: Sunday, February 9, 2025 2:25 PM

To: Voyles, Travis <voyles.travis@epa.gov>

Cc: Hanson, Paige (Catherine) <hanson.catherine@epa.gov>

Subject: RE: EPA Questions

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Travis — Thank you for the chat this am. | appreciate you taking some time out of your Sunday to walk me through all
the moving parts. As discussed, | am attaching a list of AK projects that we have heard are still on pause. If you could let
me know the status and work to get the funding unfrozen, that would be much appreciated. | have also attached a
spreadsheet that | think might be helpful for me to fully understand the funding freeze, particularly as it relates to the
ongoing review you flagged. | am still a little unclear if it is entire programs or onesie, twosie recipients within
programs. Assuming it is the latter, could you please ask OCFO to go through and flag which programs are still under
review. | have two tabs on the spreadsheet — base funding and IIJA/IRA funding. The base funding follows our
CSBA/detailed table in the JES. Hopefully it’s not too heavy a lift but please let me know. And if possible, | would love to
get this by COB Tuesday/OOB Wednesday. Thank you again for your time. Holler with anything. Daniel

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Saturday, February 8, 2025 11:52 PM

To: Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov>
Cc: Hanson, Paige (Catherine) <hanson.catherine@epa.gov>

Subject: RE: EPA Questions

Iam really sorry Daniel—Promise to connect on Monday, or if you want to give me a call on Sunday, I will make sure I
answer.

I could talk the following times on Monday, just let me know what works best:
8-8:30
10-10:30

12:30-1
After 5

EPA_00299652
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 67 of 88

Travis Voyles
C: (202) 787-0595

From: Mencher, Daniel (Appropriations) <Daniel Mencher@appro.senate.gov>
Sent: Thursday, February 6, 2025 12:19 PM

To: Voyles, Travis <voyles.travis@epa.gov>

Cc: Hanson, Paige (Catherine) <hanson.catherine@epa.gov>

Subject: RE: EPA Questions

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Travis — Realize you’re probably slammed, but shot you a text to see about connecting today. Please give me a call when
you have amoment. I’m at 202.815.7595. Thank you. Daniel

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Wednesday, February 5, 2025 5:49 PM

To: Mencher, Daniel (Appropriations) <Daniel_ _Mencher@appro.senate.gov>
Cc: Hanson, Paige (Catherine) <hanson.catherine@epa.gov>

Subject: EPA Questions

Hi Daniel—

Adam Tomlinson gave me your contact information and said you may have a question for us or are having trouble getting
some answers. Let me know if you want to chat. Include Paige here as well depending on the question I may need her help
in getting you an answer.

Thanks,

Travis

Travis Voyles
Office of the Administrator
C: (202) 787-0595

EPA_00299653
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 68 of 88

Message

From: Voyles, Travis [(O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]
Sent: 4/2/2025 4:41:16 PM

To: Underwood, Emily A. EOP/WHO [Emily.A.Underwood@who.eop.gov]; Deeley, Blake R. EOP/WHO
[Blake.R.Deeley2 @who.eop.gov]

cc: Blakely, Kyser S. EOP/WHO [Kyser.S.Blakely@who.eop.gov]; Doffermyre, William L. EOP/WHO
(William.L.Doffermyre@who.eop.gov]

Subject: RE: Weekly Updates

Attachments: Weekly Update to NEDC - EPA - Week of March 30_2025-04-02.docx; EPA Action Tracker_2025-04-02.pdf

Attached is the EPA update. Let us know if you have any questions.

Our meeting is scheduled tomorrow at 3:30p and Jess Kramer (water) and Aaron Szabo (air) will be joining.

Travis Voyles
C: (202) 787-0595

From: Voyles, Travis

Sent: Friday, March 28, 2025 2:15 PM

To: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>; Deeley, Blake R. EOP/WHO
<Blake.R.Deeley2 @who.eop.gov>

Cc: Blakely, Kyser S. EOP/WHO <Kyser.S.Blakely@who.eop.gov>; Doffermyre, William L. EOP/WHO
<William.L. Doffermyre@who.eop.gov>

Subject: RE: Weekly Updates

I just got an update from the air team today and I haven’t updated the timeline in the action tracker (attached) that I
provided in the NEC report out earlier this week, but we anticipate having a proposed rule to rescind/remove the carbon
pollution standard (main part of Clean Power Plan 2.0) ready to go to OIRA as early as next week. That will put us ahead
of the May 2025 timeline for a proposal to be issued since we have been coordinating with OMB/OIRA on expedited
review timelines.

The other GHG-related rules/rollbacks all are in the works and we’ve been discussing with OMB/OIRA prioritized
expedited reviews, but the timelines that are in the action tracker are already heavily expedited. Hopefully, more will end
up like the carbon pollution standard and get through EPA formulation quicker than expected.

Unfortunately, on the EPA end this past week, most of the updates were internal progress steps and nothing major from an
external or key step perspective. I discussed with our team trying to have something public every week moving forward.

Travis Voyles
C: (202) 787-0595

From: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>

Sent: Friday, March 28, 2025 9:58 AM

To: Voyles, Travis <voyles.travis@epa.gov>; Deeley, Blake R. EOP/WHO <Blake.R.Deeley2@who.eop.gov>
Cc: Blakely, Kyser S. EOP/WHO <Kyser.S.Blakely@who.eop.gov>; Doffermyre, William L. EOP/WHO
<William.L.Doffermyre@who.eop.gov>

Subject: RE: Weekly Updates

EPA_00299700
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 69 of 88

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Thanks Travis. What’s the status on moving forward more swiftly with the GHG rules? Also, does EPA
have any more tangible wins from the week they can share, or anything that is new that we’ve not seen
before. Most of these updates feel like continuations of information we’ve already shared, or things that
are yet to be accomplished. The only thing I would be able to include in a “this week’s implementation
wins” type read-out on my end would be the final rules around E15, but since those were announced some
time ago, that won’t be very exciting.

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Thursday, March 27, 2025 2:03 PM

To: Deeley, Blake R. EOP/WHO <Blake.R.Deeley2@who.eop.gov>

Cc: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>; Blakely, Kyser S. EOP/WHO
<Kyser.S.Blakely@who.eop.gov>; Doffermyre, William L. EOP/WHO <William.L.Doffermyre@who.eop.gov>
Subject: RE: Weekly Updates

Attached is the EPA update.

Jess Kramer (water) and Aaron Szabo (air) will be joining for our check-in. .

Travis Voyles
C: (202) 787-0595

From: Voyles, Travis

Sent: Friday, March 21, 2025 12:14 PM

To: Deeley, Blake R. EOP/WHO <Blake.R.Deeley2@who.eop.gov>

Cc: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>; Blakely, Kyser S. EOP/WHO
<Kyser.S.Blakely@who.eop.gov>; Doffermyre, William L. EOP/WHO <William.L.Doffermyre@who.eop.gov>
Subject: RE: Weekly Updates

Attached is the EPA update for the call today. Looking forward to it.

Jess Kramer (water) and Aaron Szabo (air) will be joining and between us three we should be able to speak to anything
energy/cost of living related actions at EPA.

Travis Voyles

Assistant Deputy Administrator

Office of the Administrator

U.S. Environmental Protection Agency
C: (202) 787-0595

From: Deeley, Blake R. EOP/WHO <Blake.R.Deeley2@who.eop.gov>

Sent: Monday, March 17, 2025 7:59 PM

To: jodee_hanson@ios.doi.gov; gregory wischer@ios.doi.gov; bbrooke@doc.gov; Voyles, Travis
<voyles.travis@epa.gov>; kailee.buller@usda.gov; Scarlett, Katherine R. EOP/CEQ <Katherine.R.Scarlett@ceg.eop.gov>;
alexander.fitzsimmons@hg.doe.gov; milton.w.boyd.civ@army.mil

Cc: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>; Blakely, Kyser S. EOP/WHO

EPA_00299701
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 70 of 88

<Kyser.S.Blakely@who.eop.gov>; Doffermyre, William L. EOP/WHO <William.L.Doffermyre@who.eop.gov>
Subject: Weekly Updates

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Good evening!

Great work so far on all your implementation efforts. Thanks to your hard work, we’re making great progress
toward achieving the President’s agenda and unleashing American energy. Keep it up!

As implementation grows across all agencies, so does the need for NEDC to maintain clear visibility on the
numerous achievements, messaging strategies, due outs, specific deregulatory efforts, and other major projects.
Therefore, we’ve developed a comprehensive Weekly Update for each agency. (See attached for your agency’s
specific Weekly Update.)

The Weekly Update is relatively straightforward.

° In Part I (where it says “[Description]’”), please describe your agency’s most significant achievements
from the past week as they relate to permitting and deregulation.

° In Part II (where it says “[Description]”), please describe your agency’s upcoming public
announcements related to energy projects or policy. If a date has already been set, please include it. Please also
indicate the best point of contact.

° Part III lists the EO tasks specific to your agency and the respective due date. For each task, please
prove the most recent update (subpart b), the actions your agency plans to take going forward, along with a
target completion date (subpart c), and the best point of contact (subpart d).

° In Part IV, please identify and describe specific deregulatory actions your agency is taking or is
planning to take, along with the best point of contact. Importantly, the deregulatory actions listed here should
not duplicate any deregulatory actions already identified in Part III.

° In Part V, please identify and describe permitting actions your agency is taking or is planning to take
with respect to major projects, along with the best point of contact. Importantly, the permitting actions listed
here should not duplicate any permitting actions already identified in Part HI.

We understand some responses may be duplicative. In that case, you can refer to a prior response instead of
copying and pasting the same material again. Please submit (via email) the completed Weekly Update by this
Wednesday (3/19) at 10:00 am ET. Please include Will, myself, and DCOSP team (Emily and Kyser) on that
email. Also, please be on the lookout for agency-specific meetings during the back half of this week to discuss
the Weekly Updates, including establishing a consistent schedule for submitting the Weekly Update.

Please let us know if you have any questions. Happy to jump ona call with you to discuss further.

-Blake

Blake Deeley
National Energy Dominance Council
202.814.7253

EPA_00299702
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 71 of 88

Blake.r.deeley2 @who.eop.gov

EPA_00299703
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 131-2

ENVIRONMENTAL PROTECTION AGENCY

Weekly Update to the National Energy Dominance Council
Week of March 30, 2025

Most Significant Achievements (Permitting and/or Deregulatory)

Page 72 of 88

A. Ensuring Permitting Efficiency in Mineral Exploration - As part of EPA’s EO 14241
submittal of a comprehensive list of all the current mineral exploration and production
projects in environmental review and permitting where EPA has a regulatory role, the
Agency also established a weekly reporting system to expedite for these projects where
possible and to ensure any potential issues are addressed at a political level
immediately. Depending on the project, EPA’s role can include: Clean Air Act (CAA)
Section 309 NEPA review of Environmental Impact Statements (EIS) and Environmental
Assessments (EA); Clean Water Act (CWA) Section 404 permit review; Safe Drinking
Water Act, Underground Injection Control (UIC) permit issuance or aquifer protection
decision; or Oversight of CAA, CWA, and UIC permits, as needed. EPA is a reviewing
agency for most of these projects. EPA currently has permit applications for five
projects that are noted (in italics) below. All of these are for existing operations that are
seeking to expand and extend the operational life.

Project & Applicant State Mineral EPA Role
Eagle Mine, Lundin Inc. MI nickel EPA UIC permit exemption by rule
(expansion of existing mine)
Michigan Potash MI potash EPA UIC permit reissuance
(existing mine)
Kennecott, Rio Tinto (expansion of existing mine) UT copper NEPA review of USACE EIS
tellurium

Lisbon Valley (expansion of existing mine) UT copper NEPA Review of BLM EIS

EPA UIC aquifer exemption decision
Lost Creek ISR Project (expansion of existing mine) WY uranium EPA UIC aquifer exemption decision
Strata Ross Kendrick ISR Project (expansion of existing WY uranium EPA UIC aquifer exemption decision
mine)
Libby Exploration Project (proposed mineral explora- | MT gold, silver, NEPA review of USFS EA
tion) lead, zinc
Gold Hill (proposed mineral processing operation) CO gold NEPA review of BLM EA
Copper Creek, Faraday Copper Exploration AZ copper NEPA Review of BLM EA
(proposed mineral exploration)
Hermosa South 32 AZ manganese NEPA review of USFS EIS
(proposed new mine) zinc CAA permit review
Silver Peak, Albemarle NV lithium Review of BLM EIS
(expansion of existing mine)
Tonopah Flats (proposed new mine) NV lithium NEPA review of BLM EIS
South Railroad, Orla Mining NV gold NEPA Review BLM EIS
(proposed new mine)
Spring Valley Mine, Solidus NV gold NEPA Review of BLM EIS
(proposed new mine)
North Bullfrog, Corvus Gold Nevada, Inc. NV gold NEPA Review of BLM EIS
(proposed new mine)
Caldwell Canyon, P4 Production, LLC ID phosphate NEPA Review of BLM EIS
(expansion of existing mine)
Grassy Mountain, Calico Resources USA (proposed OR gold NEPA Review of BLM EIS
new mine) silver

EPA_00299704
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 73 of 88

II. Upcoming Public Announcements

A.

Week of April 7

1. Potential Coal EO Related Messaging (TBD):

a.

NESHAP/MATS Presidential Exemption - On March 12th, as part of
EPA’s deregulatory announcement, we notified coal power plants that
they could provide information to EPA by the end of March (March 31st)
whether they believe that could receive a Presidential exemption from the
Biden EPA’s Mercury and Air Toxics Standards (MATS) rule. The
Presidential exemption would provide each coal power plant a 2-year
exemption from having to install any controls or requirements by the
MATS rule while EPA revises the rule and removes the onerous
requirement. These exemptions can continue to be renewed, if necessary.
This Presidential exemption, which falls under Clean Air Act Section
112(i)(4), has never been used before. It requires the President to find that
the technology to install the controls is not available and that it is in the
natural security interest to do so.

DOE s. 202 Enforcement Discretion -Section 202 of the Federal Power Act
grants the DOE authority to order power generation. Such an order
waives otherwise applicable environmental requirements under a broad
set of circumstances and under certain conditions, including that any such
order must be tailored to minimize environmental impacts and limit time
of operation to what is necessary to meet the emergency or demand
deemed to be in the public interest. An order issued by DOE that creates a
conflict with an existing requirement of federal, state, or local
environmental law or regulation expires in 90 days but can be renewed in
90 day increments, as appropriate.

2. POC: Travis Voyles (AQ), Molly Vaseliou (OPA)

ll. EO Tasks

A.

[ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions/2025/01/unleashing-american-energy/" ] (January 20, 2025)

1. Submit report to OMB that identifies whether and how enforcement discretion
and regulations can advance American energy. (No. 129)

a.

Due: February 19, 2025

(i) Feb. 19 - EPA has submitted a report to OMB detailing directed a
shift in the EPA Office of Enforcement and Compliance Assurance
(OECA) from heavy-handed enforcement, to a compliance model
and working more collaboratively with states and within the EPA
universe of regional and headquarters/ national program offices.

2

EPA_00299705
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 74 of 88

EPA has also been working as part of this process to assess whether
enforcement discretion of authorities and regulations can be
utilized. While EPA’s assessment of these authorities is still
ongoing, certain issue/ policy areas have been identified as
proprieties for applying identified enforcement discretion.

Feb 12 - EPA announced updated enforcement discretion to allow
the agency to better focus on its core mission and Powering the
Great American Comeback. Specifically, he announced that EPA
will immediately revise National Enforcement and Compliance
Initiatives to ensure that enforcement does not discriminate based
on race and socioeconomic status (as it has under environmental
justice initiatives) or shut down energy production and that it
focuses on the most pressing health and safety issues. This focus on
EPA’s established mission will also provide predictability as EPA
considers changes to regulations, thereby lowering costs for
Americans and relieving the economy of potentially unnecessary
bureaucratic burdens.

(1) [HYPERLINK
"https://www.epa.gov/system/ files/documents/2025-
03 /implementingnecisconsistently witheosandagency prioriti
es.pdf" |

(2) [HYPERLINK
"https://www.epa.gov/newsreleases/administrator-zeldin-
directs-enforcement-resources-align-executive-orders-and-
epas' |

b. March 27 - EPA provided NEDC with details on “enforcement discretion”
as it applies to potential use by Dept. of Energy of the Federal Power Act
Section 202(c). EPA Initial Review - DOE has the authority to order power
generation and the facility will not be in violation of an otherwise applicable
environmental obligation.

(i)

Section 202 of the Federal Power Act grants the DOE authority to
order power generation. Such an order waives otherwise applicable
environmental requirements under a broad set of circumstances
and under certain conditions, including that any such order must
be tailored to minimize environmental impacts and limit time of
operation to what is necessary to meet the emergency or demand
deemed to be in the public interest. An order issued by DOE that
creates a conflict with an existing requirement of federal, state, or
local environmental law or regulation expires in 90 days but can be
renewed in 90 day increments, as appropriate.

c. Weekly Update: No Update

EPA_00299706
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 75 of 88

d. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for
strategic actions to suspend, revise, or rescind the relevant agency
actions as expeditiously as possible, the Agency will deploy
enforcement discretion to ensure the transition to a compliance
model with appropriate regulations. As any enforcement discretion
is deployed, we will provide updates to NEDC/NEC/OMB.

e. POC: Travis Voyles (AQ), Jeff Hall (OQECA)

2. Review and revise all agency actions burdening domestic energy. (No. 115)

a. Due: Immediately

(i) Day 1-Ongoing - See attached EPA Action Tracker for full list of
significant actions, including interim actions and targeted
milestones for deregulatory actions

(ii) © March 12 - EPA announced the agency will undertake 31 historic
actions in the greatest and most consequential day of deregulation
in U.S. history, to advance President Trump’s Day One executive
orders and Power the Great American Comeback. These historic
actions will roll back trillions in regulatory costs and hidden
“taxes” on U.S. families. As a result of these announcements, the
cost of living for American families will decrease. It will be more
affordable to purchase a car, heat homes, and operate a business. It
will be more affordable to bring manufacturing into local
communities while individuals widely benefit from the tangible
economic impacts. ([ HYPERLINK
"https:// www.epa.gov /newsreleases/epa-launches-biggest-
deregulatory-action-us-history" ])

(iii) March 24 - Greenhouse Gas Reporting Rule - EPA sent to the
Federal Register a final rule to extend the reporting deadline under
the Greenhouse Gas Reporting Rule for reporting year 2024 data
from March 31, 2025, to May 30, 2025. This only changes the
reporting deadline for annual greenhouse gas (GHG) reports for
reporting year 2024, but is part of a larger reconsidering of the
mandatory Greenhouse Gas Reporting Program (GHGRP). Unlike
every other mandatory information collection by EPA under the
Clean Air Act, the GHGRP is not directly related to a potential
regulation nor developed with that intention. The program requires
over 8,000 facilities and suppliers in the United States to calculate
and submit their emissions reporting annually. It costs hundreds of
millions of dollars that could be better used to improve and
upgrade environmental controls or other items at these facilities to
have a noticeable impact on the improvement of the environment.

4

EPA_00299707
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 76 of 88

b. Weekly Update: Anticipated Regulatory Actions (move of steps)

(i) Carbon Pollution Standard - EPA anticipates having a proposed
rule to rescind /remove the Carbon Pollution Standard (main part
of Clean Power Plan 2.0) ready to go to OIRA as early as end of this
week, which will put us ahead of the May 2025 timeline for
publication initially communicated to NEDC.

c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for
strategic actions to suspend, revise, or rescind the relevant agency
actions as expeditiously as possible, the Agency will implement
and provide updates to NEDC/ NEC/OMB.

d. POC: Travis Voyles (AO)

3. Eliminate all permitting delays. For example, take advantage of general
permitting and permit by rule. And for essential projects, take advantage of all
authorities, including emergency authorities, to expedite the permitting process.
(No. 120)

a. Due: Immediately

(i) Feb. 19 - EPA submitted a report to OMB, CEQ, Interior, and
Commerce, and while EPA is still conducting a review of potential
actions to facilitate the consultation process under the Endangered
Species Act with emergency treatment, EPA has identified other
potential short term, immediate solution for emergency authorities
relevant to share with these agencies.

(ii) | Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/ approval of energy infrastructure projects, the
Agency in our oversight role (i.e. NEPA/EIS reviews) has limited
our involvement to statutory-related input and ensured
expedited/limited reviews. Additionally, where EPA has had a
contributing permitting approval role, the Agency has expedited
the consideration of those permits.

EPA has worked with DOJ to reevaluate all ongoing litigation
related to enforcement actions or delegated permitting programs
impacting existing permitting and operations.

(1) Anexample of this is the recent news of DOJ dismissed a
lawsuit against Denka Performance Elastomer LLC (Denka)
concerning its manufacturing facility in LaPlace, LA, which
produces neoprene, a synthetic rubber essential for products
like orthopedic braces, wetsuits and automotive
components. The lawsuit, originally filed by the Biden

5

EPA_00299708
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 77 of 88

Administration in 2023, relied on the Clean Air Act’s rarely
invoked “Emergency Powers” provision (42 U.S.C. § 7603).
That statute authorizes EPA to seek immediate restraints on
pollution sources presenting “an imminent and substantial
endangerment” to public health or the environment. In an
effort to satisfy this standard, the Biden-era complaint
alleged a marginally increased risk of harm after prolonged
exposure. The complaint did not allege that emissions from
Denka’s LaPlace plant violated any regulatory air quality
standard, but the Biden-EPA framed the case as part of its
“ongoing effort to advance environmental justice in
overburdened communities.”

As EPA continues to identify other potential immediate solutions
for strategic actions to suspend, revise, or rescind the relevant
agency actions as expeditiously as possible, the Agency will explore
the utilization of the following authorities to provide emergency
relief to facilitate the Nation’s energy supply:

(2) Clean Water Act -

(A) CWA § 401 - No emergency authorities
identified/ available. After internal considerations,
moving forward with proposal to rescind the Biden
EPA 2023 CWA §& 401 Rule and reinstate the Trump
EPA 2020 CWA § 401 rule, subject to some specific
issues that have arisen in the litigation of Trump EPA
2020 CWA §& 401 rule.

(3) Clean Air Act -

(A) Sec. 112(i)(4) [clearest and broadest] - “The President
may exempt any stationary source from compliance
with any standard or limitation under this section for
a period of not more than 2 years if the President
determines that the technology to implement such
standard is not available and that it is in the national
security interests of the United States to do so. An
exemption under this paragraph may be extended for
1 or more additional periods, each period not to
exceed 2 years. The President shall report to Congress
with respect to each exemption (or extension thereof)
made under this paragraph.”

(B) Sec. 110(f) [permitting] - Provides for exemptions
limited to 4 months and focused on fuel burning
stationary sources providing energy for residential

EPA_00299709
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 78 of 88

dwellings or related to high levels of unemployment
in an energy emergency.

(C) Sec. 118 - up to 1 year, but only applies to federal
facilities

(iii) © March 20 - EPA Team (AO, Water, Air) met with DPC staff (Theo
Merkel) to discuss permitting and emergency authorities around
pharmaceutical manufacturing facilities, with similar identified
emergency authorities for National Emission Standards for
Hazardous Air Pollutants (NESHAP) as discussed above.

(1) Follow Up Mtg. Planned w/ Army Corps to discuss
Nationwide Permits and potential incorporation of
pharmaceutical manufacturing facilities ina new NWP.

b. Weekly Update: No Update - To date, EPA has not received any new
permit applications for major enerey infrastructure projects under our
primary permittine programs.

c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for
strategic actions to utilize permitting or emergency authorities for
the relevant agency actions as expeditiously as possible, the Agency
will implement and provide updates to NEDC/NEC/OMB

(ii) | Ongoing/TBD - EPA is implementing increased cooperative
federalism principles and focus through permit program
delegation/assumption/ primacy.

(1) Reviewing EPA Standards/Guidance - Although EPA
directly issues some permits, many jurisdictions (states,
territories, tribal nations and municipalities) are approved to
directly implement federal environmental permit programs
on EPA’s behalf. Where EPA has approved the delegation of
permitting and regulatory responsibilities to states, EPA is
returning to a focused oversight role, reducing the burden
placed on these justifications and states to implement their
programs in an efficient manner. In these situations, EPA is
responsible for developing standards and guidance for
permit programs. EPA is reviewing and updating (as
needed) these standards and guidance for permit programs
to ensure jurisdictions do not overstep their authorities
under the authorizing statues.

(2) | Focus Areas/Programs to Increase
Delegation/ Assumption/ Primacy - While delegation is
common in a subset of environmental statutory programs,
7

EPA_00299710
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 79 of 88

EPA is increasing the opportunities for states to assume
additional programs, completely removing the need for full
federal programs and involvement beyond oversight. EPA is
focusing on permitting programs (like Underground
Injection Control (UIC) permitting) that have a direct impact
on future energy projects.

d. POC: Travis Voyles (AO), Aaron Szabo (OAR), Jess Kramer (OW), Jeff
Hall (OECA)

4. Ensure all agency guidance on greenhouse gas emissions are consistent with
OMB Circular A-4 of September 17, 2003 (Regulatory Analysis), including
domestic versus international effects, appropriate discount rates, and the value of
emissions changes resulting from agency actions. Engage rule-making and
regulatory or policy processes as necessary. (No. 124)

a. Due: Immediately (this is a gating item for another task assigned to EPA,
which is due March 21)

(i) Day 1-Ongoing - EPA completed a review of all agency guidance
to ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory/ policy reconsiderations
and updates. EPA and NEDC staff have discussed two potential
paths forward on the reconsideration of the social cost of
greenhouse gases (SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization
of consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission
impacts to individual agencies in their applicable cost-
benefit analyses.

(2) Using NEDC/DCoS feedback on SC-GHG considerations,
EPA is drafting guidance to provide for review that will be a
first step in providing a consistent approach and appropriate
value.

b. Weekly Update: EPA is reviewing a draft guidance document and
anticipates sharing that with NEDC and OMB/OIRA the week of April 7.

Cc. Interim Action Items and Targeted Completion Dates:

(i) TBD - Announcing path forward and working with other federal
agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

8

EPA_00299711
2:25-Ccv-02152-RMG

5.

Date Filed 04/21/25 = Entry Number 131-2 Page 80 of 88

Pause disbursement of funds appropriated through IRA of 2022 and IIJA unless
APEP and OMB approve, including funds for EV charging stations through the
National Electric Vehicle Infrastructure Formula Program and the Charging and
Fueling Infrastructure Discretionary Grant Program, subject to current and
pending decisions. (No. 126)

a. Due: Immediately

(i) Day 1-Ongoing - EPA immediately initiated a funding freeze and
review of all IRA/TIJA funding programs. In compliance with
relevant court orders, EPA has released IIJA/IRA awarded and
obligated funding.

(1) Feb. 6- EPA initiated a review (outside of any EO/OMB
directive) of all IJA/IRA funding programs, which resulted
in some additional pauses of program implementation, but
focused on clearing programs from an implementation,
oversight, and funding source standpoint.

(2) Current Status -

(A)

(C)

Funding in 2 of the 3 programs ($20B) within the
Greenhouse Gas Reduction Fund have been frozen at
an outside financial agent. On March 18, EPA
cancelled all of the existing grants and pending
ongoing litigation is in the process of getting the
remaining funding returned to the US Gov't.

All environmental justice related grant programs
(funded by IRA, IIJA, and base appropriations) have
been halted and all active grants have been cancelled
(totalling nearly $2B).

All IRA-funded grant programs have halted new
awards, but awarded and obligated funding is
continuing to flow.

Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for
strategic actions to suspend, revise, or rescind the relevant agency
funding programs and policies as expeditiously as possible, the
Agency will implement and provide updates to

b. Weekly Update: No Update
C.

NEDC/NEC/OMB.
d.

POC: Travis Voyles (AO), Paige Hanson (OCFO)

EPA_00299712
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 81 of 88

6. Review and adjust all processes and policies for grants, loans, contracts, and
other financial disbursements for consistency with the policies of this order. (No.

126.1)

a. Due: Immediately

(i)

Day 1-Ongoing - Working with DOGE, EPA a review process of all
grants and contracts to ensure compliance, which has resulted in
over $2B in cancellations and more anticipated.

b. Weekly Update: No Update

c. Interim Action Items and Targeted Completion Dates:

(i)

Ongoing/TBD - As EPA identifies the correct approach for
strategic actions to suspend, revise, or rescind the relevant agency
actions and funding policies as expeditiously as possible, the
Agency will implement and provide updates to
NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

7. Identify, revise, and rescind actions unduly burdening domestic mining and
processing of non-fuel minerals. (No. 132)

a. Due: Immediately

(i)

Feb. 19 - More broadly, but directly impacting mining and
processing, EPA submitted a report to OMB and CEQ detailing
relevant agency actions to identify potential changes and agency
actions to facilitate the Nation’s energy supply. While EPA is still
coordinating with Army Corps on potential actions to facilitate
direct Corps authority to act with emergency treatment, EPA has
identified a short term, immediate solution, paired with a targeted
revision of the current 2023 definition of “Waters of the United
States” to conform with Sackett v. EPA, 598 U.S. 651 (2023).

March 12 - EPA and the Army Corps announced a joint
memorandum issuing guidance to field staff on implementation of
“continuous surface connection” consistent with the U.S. Supreme
Court’s May 25, 2023, decision in the case of Sackett v. EPA. The
agencies also announced a Federal Register notice publicizing a
series of six listening sessions and a 30-day recommendations
docket to solicit feedback on key aspects of the definition of
“waters of the United States.”

b. Weekly Update: No Update

c. Interim Action Items and Targeted Completion Dates:

10

EPA_00299713
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 82 of 88

(i) Ongoing - Federal Register notice publicizing a series of six listening
sessions and a 30-day recommendations docket to solicit feedback
on key aspects of the definition of “waters of the United States.”

d. POC: Jess Kramer (OW), Travis Voyles (AQ)

8. Issue guidance to address harms and inadequacies of “social cost of carbon”
calculations, including consideration of eliminating it from any federal
permitting or regulatory decision. (No. 123)

a. Due: March 21, 2025

(i) Day 1-Ongoing - EPA completed a review of all agency guidance
to ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory/ policy reconsiderations
and updates. EPA and NEDC staff have discussed two potential
paths forward on the reconsideration of the social cost of
greenhouse gases (SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization
of consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission
impacts to individual agencies in their applicable cost-
benefit analyses.

b. Weekly Update: Need NEDC/DCoS feedback on SC-GHG considerations.
c. Interim Action Items and Targeted Completion Dates:

(i) TBD - Announcing path forward on SC-GHG and working with
other federal agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

9, Submit a report to NEC and OMB detailing findings and recommendations for
aligning appropriated funds related to IRA and IIJA with the policies of this
order. (No. 127)

a. Due: April 20, 2025
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing - EPA is identifying funding programs into three primary
categories and will provide the comprehensive report to

NEC/OMB by April 20. EPA has continued to provide ongoing

11

EPA_00299714
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 83 of 88

feedback to OMB as we have made individual decisions on
programs and funding.

(1) (1) programs to continue to implement as is; (2) programs
that require updated implementation guidance or changes to
implementation; and (3) programs that are not in alignment
with Adminstration priorities and should not continue.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

10. Identify and eliminate all environmental considerations not required by
legislation and use the most robust non-arbitrary and non-ideological
methodologies for permitting adjudications and regulatory processes. (No. 122)

a. Due: Ongoing
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing comprehensive review and related decisions implemented
d. POC: Travis Voyles (AO)

B. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions /2025/01/declaring-a-national-energy-emergency/" ] (January 20, 2025)

1. Consider issuing emergency fuel waivers for year-round sale of E15 gasoline.
(No. 167)

a. Due: Immediately

(i) Feb. 21 - EPA announced the agency’s decision to uphold the
current April 28, 2025, implementation date to provide parity for
E15 and E10 in Midwestern states (IL, IA, MN, MO, NE, OH, SD,
WI). This action provides regulatory certainty for fuel suppliers
and expands consumer access to E15 year-round in these states. At
the same time, in recognition of concerns raised by some regarding
fuel supply transitions, EPA intends to consider granting requests
for a one-year delay for those states seeking additional time for
compliance. Along with this, EPA will still have the ability to issue
emergency fuel waivers to allow the year-round sale of E15.

(1) [ HYPERLINK
"https://www.epa.gov /newsreleases/ahead-summer-
driving-season-epa-allows-expanded-e15-access-midwest-
states-year-round" ]

12

EPA_00299715
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 84 of 88

(ii) | March 24- EPA sent to the Federal Register a final rule, “Extension
of Effective Date for Removal of Gasoline Volatility Waiver for
Ohio and Nine Counties in South Dakota.” This action extends the
effective date of the removal of the 1-psi volatility waiver for
gasoline in Ohio and nine counties in South Dakota, as requested
by the Governors of Ohio and South Dakota. This action is part of
EPA effort to ensure cheaper gas with E15 expansion. Our decision
to expand year-round access to E15 fuel means more competition at
the pump, lowering gas prices for millions of drivers in the
Midwest.

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing - EPA is assessing the need to issue emergency fuel
waivers to allow the year-round sale of E15.

d. POC: Aaron Szabo (OAR), Travis Voyles (AO)

2 Status report on actions taken and planned actions to promote energy use
consistent with this order. (No. 169)

a. Due: March 21, 2025 (last report submitted [Insert Date])
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing updates provided weekly
d. POC: Travis Voyles (AO)

Cc. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions/2025/03/immediate-expansion-of-american-timber-production/" | (March 1,
2025)

1. Eliminate all undue delays in permitting processes related to timber production,
and take all steps to suspend, revise, or rescind all existing agency actions that
impose an undue burden on timber production. (No. 472)

a. Due: Immediately and ongoing

(i) Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/ approval of timber related activities or infrastructure
projects, the Agency in our oversight role (i.e. NEPA/EIS reviews)
has limited our involvement to statutory-related input and ensured
expedited/limited reviews. Additionally, where EPA has had a

13

EPA_00299716
2:25-Ccv-02152-RMG

Date Filed 04/21/25 = Entry Number 131-2 Page 85 of 88

contributing permitting approval role, the Agency has expedited
the consideration of those permits.

(1) | EPA also may have permitting involvement in timber-
related processing facilities under the Clean Air Act and
Clean Water Act. As detailed on our general approach to
permitting.

March 12 - EPA took action to decrease the risk of future
catastrophic wildfires by revisiting the Obama-Biden
Administration’s Exceptional Events rulemaking and prioritizing
the allowance of prescribed fires within State and Tribal
Implementation Plans (SIPs/TIPs). When EPA reviews SIPs and
TIPs, EPA will work to ensure states and other entities that work
within those states can use prescribed fires to properly manage
their forests, without being unfairly penalized when it comes to
assessing their air quality. EPA will convene meetings with state
and tribal air agencies and state, local, and federal forest managers
to evaluate ways to ease unnecessary burdens that prevent
prescribed fires. These unnecessary burdens are related to, but not
limited to, Exceptional Events, Regional Haze, Interstate Transport,
and International Transport.

(1) [| HYPERLINK
"https://www.epa.gov /newsreleases/administrator-zeldin-
takes-action-decrease-risk-future-catastrophic-wildfires" ]

b. Weekly Update: New Regulatory Action identified

(i)

EPA is working on issuing a Interim Final Rule on Clean Bio-mass

Air Curtain Incinerator (ACI) and Temporary Incineration that we
expect to be siened by the Administrator before July 2025. The rule
would have the following benefits with respect to helping with
ongoing timber operations and prescribed fires:

(1) Land management agencies use mechanical thinning to
remove small trees, understory brush and other forest waste
in advance of prescribed burns. This approach helps to
minimize the possibility of a prescribed burn burning too hot
or gettine out of control. Current practice, in the absence of
air curtain incinerators (ACIs), gathers that waste into burn
piles, that then can smolder over days. These burn piles can
also only burn under certain conditions, which ACIs are not
subject to. (e.¢., if it’s too dry or windy, they cannot burn)

(2) Enabling broader use of ACIs, by removing title V permitting
requirements and other requirements, will enable those land
management agencies to deal with forest waste cleaner and

14

EPA_00299717
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 86 of 88

more quickly, which in turn will facilitate the ability to
increase the pace and scale of prescribed burns.

c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AQ), Jess Kramer (OW), Aaron Szabo (OAR)

2 Maximize use of ESA emergency consultation regulations to facilitate timber
production. (No. 473)

a. Due: Ongoing

(i) Feb. 19-Ongoing - EPA submitted a report to OMB, CEQ, Interior,
and Commerce, and while EPA is still conducting a review of
potential actions to facilitate the consultation process under the
Endangered Species Act with emergency treatment, EPA has
identified other potential short term, immediate solution for
emergency authorities relevant to share with these agencies.

b. Weekly Update: No Update
Cc. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AO), Jess Kramer (OW), Aaron Szabo (OAR)

IV. Progress Updates on Specific Deregulatory Matters (excluding those covered above)

A. — See attached EPA Action Tracker for full list of significant actions, including interim
actions and targeted milestones for deregulatory actions.

1. Weekly Update: No Update
Ze POC: Travis Voyles (AQ)
V. Major Project Permitting Status (excluding those covered above)

A. Constitution Pipeline (PA/NY)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.
15

EPA_00299718
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-2 Page 87 of 88

Ds

3.

Weekly Update: No Update

POC: Travis Voyles (AQ), Jess Kramer (OW)

B. Enbridge Line 5 Project (WI1/MI)

1.

2.

3s

Interim Action Items and Targeted Completion Dates:

a. Reevaluating Biden EPA’s finding under CWA that project may have
“substantial and unacceptable” impacts, which was used throughout
permitting /review process.

Weekly Update: No Update

POC: Travis Voyles (AQ), Jess Kramer (OW)

C. NESE Pipeline (PA/ NY/NJ)

1,

Ze

ah

Interim Action Items and Targeted Completion Dates:

a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY/NJ on
401 certification.

Weekly Update: No Update

POC: Travis Voyles (AQ), Jess Kramer (OW)

D. Northern Access Pipeline (PA/NY)

1,

2.

3.

Interim Action Items and Targeted Completion Dates:

a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.

Weekly Update: No Update

POC: Travis Voyles (AQ), Jess Kramer (OW)

E. Energy Transfer - U.S. Gov’t Debarment Proceedings

1,

Interim Action Items and Targeted Completion Dates:

a. March 10 - EPA dismissed proposed debarment proceedings from Biden
Administration and then PA AG Shapiro state-level criminal CWA
violations, ensuring Energy Transfer would be eligible for federal
contracting opportunities (i.e. Trans-Panama Gateway Pipeline project).

16

EPA_00299719
2:25-Ccv-02152-RMG Date Filed 04/21/25

Zs Weekly Update: No Update

3. POC: Travis Voyles (AQ)

F, Mineral Exploration Related Projects

Entry Number 131-2 Page 88 of 88

1. Interim Action Items and Targeted Completion Dates/ Weekly Update: No Update

2. POC: Travis Voyles (AO)

Project & Applicant State Mineral EPA Role
Eagle Mine, Lundin Inc. MI nickel EPA UIC permit exemption by rule
(expansion of existing mine)
Michigan Potash MI potash EPA UIC permit reissuance
(existing mine)
Kennecott, Rio Tinto (expansion of existing mine) UT copper NEPA review of USACE EIS
tellurium

Lisbon Valley (expansion of existing mine) UT copper NEPA Review of BLM EIS

EPA UIC aquifer exemption decision
Lost Creek ISR Project (expansion of existing mine) WY uranium EPA UIC aquifer exemption decision
Strata Ross Kendrick ISR Project (expansion of existing WY uranium EPA UIC aquifer exemption decision
mine)
Libby Exploration Project (proposed mineral explora- | MT gold, silver, NEPA review of USFS EA
tion) lead, zinc
Gold Hill (proposed mineral processing operation) CO gold NEPA review of BLM EA
Copper Creek, Faraday Copper Exploration AZ copper NEPA Review of BLM EA
(proposed mineral exploration)
Hermosa South 32 AZ manganese NEPA review of USFS EIS
(proposed new mine) zinc CAA permit review
Silver Peak, Albemarle NV lithium Review of BLM EIS
(expansion of existing mine)
Tonopah Flats (proposed new mine) NV lithium NEPA review of BLM EIS
South Railroad, Orla Mining NV gold NEPA Review BLM EIS
(proposed new mine)
Spring Valley Mine, Solidus NV gold NEPA Review of BLM EIS
(proposed new mine)
North Bullfrog, Corvus Gold Nevada, Inc. NV gold NEPA Review of BLM EIS
(proposed new mine)
Caldwell Canyon, P4 Production, LLC ID phosphate NEPA Review of BLM EIS
(expansion of existing mine)
Grassy Mountain, Calico Resources USA (proposed OR gold NEPA Review of BLM EIS
new mine) silver

17

EPA_00299720
